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                      IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF NORTH DAKOTA
                               WESTERN DIVISION

____________________________________
                                     )
Christian Employers Alliance,        )
                                     )
                      Plaintiff,     )
                                     )
               v.                    )             Case No. 1:21-cv-195-MDT-CRH
                                     )
United States Equal Employment       )
Opportunity Commission, et al..      )
                                     )
                      Defendants.    )
____________________________________ )


 DEFENDANTS’ OPPOSITION TO PLAINTIFF’S MOTION FOR A PRELIMINARY
                          INJUNCTION




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                                         INTRODUCTION

        Plaintiff Christian Employers Alliance (“CEA”) asks this Court to preliminarily enjoin the

Equal Employment Opportunity Commission (“EEOC”) from mandating that CEA’s members cover

gender-transition services in their employee healthcare plans, and to further preliminarily enjoin the

Department of Health and Human Services (“HHS”) from mandating that CEA’s members who are

healthcare providers perform such gender-transition services. But CEA’s request begins from a false

premise—neither agency actually imposes such a mandate on religious employers or healthcare

providers. Tellingly, CEA cannot point to a single instance where either agency has enforced such a

“mandate,” nor can it identify any operative agency rules or guidance reflecting these so-called

“universal gender identity mandates.” ECF No. 6-1 (“PI Mem.”) at 1.

        To be sure, both agencies have made clear that the respective sex discrimination statutes they

enforce extend to gender-identity discrimination. But that is little more than an application of the

Supreme Court’s reasoning last year that “it is impossible to discriminate against a person for being

homosexual or transgender without discriminating against that individual based on sex.” Bostock v.

Clayton County, 140 S. Ct. 1731, 1741 (2020). Neither agency has issued regulations or even guidance

stating that the specific policies and actions identified by CEA fall within the scope of unlawful gender-

identity discrimination. And both affirm that the Religious Freedom Restoration Act (“RFRA”) and

other religious defenses may overcome a charge of discrimination on a case-by-case basis. The

Supreme Court itself cautioned that determining what “policies and practices” qualify as gender-

identity discrimination, as well as how that proscription interacts with religious liberty laws, posed

questions for “future cases.” Id. at 1753-1754.

        But this is not that future case—CEA does not present a concrete dispute between one of its

member’s practices or beliefs and the agencies’ enforcement actions; instead it seeks only to enjoin

how EEOC and HHS might interpret their anti-discrimination laws in the future and then might choose

to enforce them against CEA members. Such a conjectural theory of harm does not supply jurisdiction

to grant CEA’s broad request for preliminary relief, as CEA’s claims cannot be evaluated in the

abstract. While another district court concluded otherwise, its decision—which will soon be heard on


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appeal—exceeded the boundaries of Article III jurisdiction, enjoining EEOC and HHS from

enforcing their relevant anti-discrimination statutes based on positions those agencies had not actually

adopted. Federal courts are not empowered to grant such advisory opinions.

        Plaintiff’s speculative theory of harm means that it cannot meet any of the four well-settled

Dataphase factors for a preliminary injunction. CEA has no likelihood of success on the merits, first,

because this Court lacks subject-matter jurisdiction over its challenge to enjoin hypothetical future

agency enforcement activity.     Article III limits federal court jurisdiction to concrete cases or

controversies, but CEA suffers from no present or certainly impending injury sufficient to give rise to

such a dispute. Plaintiff may not simply ascribe a position to EEOC or HHS that neither agency has

taken, claim an injury, and then seek to enjoin enforcement theories that the agencies may not adopt,

never mind pursue against a CEA member. CEA’s claims are unripe for similar reasons. Its theory

of harm is contingent on future events that may never occur, or may play out differently than

anticipated. The Court cannot prematurely assess Plaintiff’s necessarily fact-specific claims without

the benefit of a factual record. Moreover, the speculative claim of harm here means that CEA’s

members face no hardship in forestalling review until an actual application of the anti-discrimination

laws exists to consider. Indeed, CEA’s abstract claim of harm is compounded by its own failure to

identify any of its members, or to present evidence that any of its members have actually been

burdened, or face irreparable harm, from the so-called mandates. CEA therefore has not shown that

it possesses associational standing to assert claims on behalf of its anonymous members.

        Beyond the catalogue of Article III deficiencies with CEA’s challenge, its claims are not likely

to succeed on their own terms. The Religious Freedom Restoration Act (“RFRA”) calls for an

individualized inquiry into whether a particular person’s religious practice has been substantially

burdened by the Government. But no such “person” or “practice” has been identified in the case.

And regardless, CEA’s abstract and contingent dispute with EEOC and HHS fails to show a

substantial burden on anyone’s religious practice, particularly given both agencies’ affirmation that any

future decisions about whether to file any enforcement actions will account for RFRA and other

religious defenses. Plaintiff’s related First Amendment claims, which are largely duplicative of the


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RFRA claims, are unlikely to succeed on the merits for similar reasons.

        CEA also fails to overcome numerous threshold requirements to assert an Administrative

Procedure Act (“APA”) claim. It does not identify any final agency action in this case; indeed, it does

not even allege that the “mandates” are final agency action. Instead it largely points to various agency

guidance, policy statements, and interpretive rules, but these agency materials lack the force of law

and do not qualify as final agency action. Further still, both anti-discrimination statutes that CEA

takes umbrage with provide for de novo judicial review of its arguments within the context of actual

enforcement proceedings, meaning that CEA’s members have an adequate and alternative remedy to

this suit. The APA precludes pre-enforcement challenges in such instances. Even if CEA had

overcome these hurdles, it fails to show either EEOC or HHS has acted in a manner contrary to law.

Plaintiff’s arguments on that point make clear that its true quarrel is with the Supreme Court’s decision

in Bostock, and not with non-binding agency guidance that merely reiterates that decision’s reasoning.

        The remaining Dataphase factors also strongly weigh against preliminary relief. CEA offers

next to no explanation of how its members face irreparable harm, and in view of its highly attenuated

theory of injury, such irreparable harm is lacking here. Further, because CEA members would have

the opportunity to present the same arguments here in any future administrative proceeding, followed

by de novo judicial review, declining to resolve such arguments now poses no irreparable harm to them.

CEA’s own delay in seeking relief until long after it alleges the so-called mandates came to exist also

casts doubt on its claim of irreparable harm. Finally, weighing CEA’s lack of imminent harm against

the disruption its broad request for relief would impose on the nation’s anti-discrimination laws, the

balance of the equities and public interest factors also weigh in favor of denying Plaintiff’s motion.

                                          BACKGROUND

I.      Statutory and Regulatory Background

        A.      Title VII’s prohibition on sex discrimination and EEOC.

        Title VII’s private sector provision prohibits employment discrimination “because of . . . sex.”

42 U.S.C. § 2000e-2(a)(1). EEOC is tasked with investigating claims of unlawful employment

discrimination, including sex discrimination, under Title VII.        See generally 42 U.S. § 2000e-5.


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Employees or job applicants who allege that they have been subject to an unlawful employment

practice by an employer subject to Title VII may file a charge with EEOC. Id. § 2000e-5(b). EEOC

will then investigate the claim and if, after completing its investigation, it determines that “there is not

reasonable cause to believe that the charge is true, it shall dismiss the charge and promptly notify the

person claiming to be aggrieved and the [employer] of its action.” Id. The notice to the employee or

applicant is typically referred to as a “notice of right to sue” because the employee or applicant can

file suit only after she receives the notice. Id. § 2000e-5(f)(1). If, however, EEOC concludes that

there is reasonable cause to believe that an employer violated Title VII, it initiates conciliation, a

process by which the agency attempts to facilitate a settlement agreement between the claimant and

the employer. Id. If conciliation fails, EEOC “may” bring its own enforcement action against a private

employer or issue a right to sue notice allowing the claimant to sue. Id. In either event, the ensuing

review is de novo. See Gen. Tel. Co. of the Nw. v. EEOC, 446 U.S. 318, 325 (1980).

        Even prior to Bostock, EEOC has taken the position that discrimination “because of . . . sex”

under Title VII includes discrimination because of gender identity. The Supreme Court agreed last

year in Bostock. In the wake of that decision, President Biden ordered agencies to review their

interpretations of sex-discrimination laws. See Exec. Order 13988, 86 Fed. Reg. 7023 (Jan. 20, 2021).

On June 15, 2021, the EEOC issued a technical assistance document addressing Title VII’s

prohibitions against sexual orientation and gender-identity discrimination in the workplace. See ECF

No. 1 (“Compl.”) ¶ 82, id. Ex. 4 (“EEOC Document”). The EEOC first summarized the Supreme

Court’s decision in Bostock. Id., Ex. 4 at 2. It then explained EEOC’s “established legal positions on

LGBTQ+ related matters, as voted by the Commission.” Id. It stated that in 2012 EEOC had, prior

to Bostock, already taken the view that Title VII prohibits gender-identity discrimination, and, in 2015,

further concluded that it prohibits sexual orientation discrimination. Id.

        The EEOC Document stressed that it was not providing any “new policy” and further that

the document did “not have the force and effect of law and is not meant to bind the public in any

way.” EEOC Document at 4. Instead it was “intended only to provide clarity to the public regarding

existing requirements” under Title VII. Id. The document also did not purport to dictate the outcome


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of an enforcement action under any particular set of facts. It noted that Title VII permits religious

organizations and religious educational institutions to hire and employ people who share their own

religion, and also recognized the “ministerial exception” that “bars certain employment discrimination

claims by the employees of religious institutions.” Id. at 5. But, consistent with the broader document,

it explained that the applicability of these exceptions is determined “on a case by case basis” and that

“defenses might also be available to employers depending on the facts of a particular case.” Id.

        While EEOC has taken the position that gender-identity discrimination constitutes sex

discrimination under Title VII, and restated that view in the EEOC Document, it has to date never

filed an enforcement action in court challenging an employer’s exclusion of gender-transition services

from its health plan, much less filed such an action where an employer raised a religious defense.

        B.      Section 1557, Title IX, and HHS.
        Section 1557 of the Affordable Care Act states that no individual shall be “excluded from

participation in, be denied the benefits of, or be subjected to discrimination under” a covered federally

funded health program or activity on the grounds in several long-standing civil rights laws, including

Title IX of the Education Amendments of 1972. 42 U.S.C. § 18116(a) (citing 20 U.S.C. § 1681). Title

IX, in turn, prohibits discrimination “on the basis of sex.” 20 U.S.C. § 1681(a). Section 1557 thus

provides that “an individual shall not [on the basis of sex] be excluded from participation in, be denied

the benefits of, or be subjected to discrimination” in covered federally funded health programs. 42

U.S.C. § 18116(a).

        Section 1557 also incorporates the “enforcement mechanisms provided for and available

under” the civil rights laws it cites, including Title IX. 42 U.S.C. § 18116(a); see also 45 C.F.R. § 92.5(a).

These enforcement mechanisms, including Title IX’s, permit an enforcing agency—here, HHS and its

Office for Civil Rights—to terminate, or refuse to grant, federal funds to entities that discriminate on

the basis of sex. See, e.g., 20 U.S.C. § 1682; see also 45 C.F.R. § 80.6-80.8. But the enforcing agency

must take several steps before withholding federal funds. First, it must “advise[] the appropriate

person or persons of the failure to comply with the requirement” not to discriminate because of sex

and “determine[] that compliance cannot be secured by voluntary means.” 20 U.S.C. § 1682. If the


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party does not voluntarily comply, HHS may withhold funding only after “there has been an express

finding on the record, after opportunity for hearing, of a failure to comply” with Title IX. Id. The

agency then must inform the appropriate Congressional committees of the grounds for its action. Id.

A party aggrieved by this administrative process may obtain “judicial review as may otherwise be

provided by law” or “in accordance with chapter 7 of Title 5,” i.e., the APA. Id. § 1683; see id. § 1682

(further providing for enforcement “by any other means authorized by law,” including referral to the

Department of Justice with a recommendation for proceedings under 45 C.F.R. § 80.8).

        C.      HHS’s prior rulemaking under § 1557.

                1.       The 2016 Rule and related litigation.
        In 2016, HHS promulgated a rule prohibiting discrimination on the basis of sex in covered

health care programs or activities. See Nondiscrimination in Health Programs and Activities, 81 Fed. Reg.

31,376 (May 18, 2016) (“2016 Rule”). The rule defined sex discrimination to include, as relevant here,

gender-identity discrimination. Id. at 31,467. It explained, for example, that a covered provider could

not refuse to offer medical services for gender transitions if the provider offered comparable services

to those not seeking gender transition. Id. at 31,471. Thus, a “provider specializing in gynecological

services that previously declined to provide a medically necessary hysterectomy for a transgender man

would have to revise its policy to provide the procedure for transgender individuals in the same

manner it provides the procedure for other individuals.” Id. at 31,455.

         The rule did not permit enforcement that “would violate applicable Federal statutory

protections for religious freedom and conscience,” id. at 31,466, and it further explained that RFRA

“is the proper means to evaluate any religious concerns about the application of Section 1557

requirements,” id. at 31,380. The 2016 Rule stated that HHS would evaluate “individualized and fact

specific” RFRA claims “on a case-by-case basis.” Id. The 2016 Rule’s prohibition on gender-identity

discrimination was preliminary enjoined on a nationwide basis later in 2016. See Franciscan Alliance v.

Burwell, 227 F. Supp. 3d 660, 694 (N.D. Tex. 2016).1 Prior to this litigation, the same court granted

1
  Several similar challenges to the 2016 rule were also filed in this district. See Religious Sisters of Mercy
v. Burwell, Case No. 3:16-cv-386, ECF No. 1 (D.N.D. Nov. 7, 2016); Catholic Benefits Assoc. v. Burwell,

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summary judgment to the plaintiffs and vacated, as relevant here, the 2016 Rule’s prohibition on

gender-identity discrimination. See Franciscan Alliance v. Azar, 414 F. Supp. 3d 928 (N.D. Tex. 2019).2

                2.      The 2020 Rule and related litigation.
        In 2019, while the 2016 Rule remained preliminarily enjoined, HHS issued a Notice of

Proposed Rulemaking indicating that it intended to revise the 2016 Rule. See Nondiscrimination in Health

and Health Education Programs or Activities, 84 Fed. Reg. 27,846 (proposed June 14, 2019) (“NPRM”).

The NPRM indicated that HHS intended to repeal the 2016 Rule’s definition of discrimination “on

the basis of sex” altogether. But the notice also observed that the Supreme Court had granted several

petitions for certiorari to determine whether Title VII’s bar on sex discrimination included gender

identity and sexual orientation discrimination.         Id. at 27,855.   HHS acknowledged the likely

consequence of the Supreme Court’s decision to its own interpretation of Title IX because “Title IX

adopts the substantive and legal standards of Title VII.” Id. Rather than propose a new definition of

discrimination “on the basis of sex,” HHS indicated it would permit the federal courts to supply the

term’s “proper legal interpretation.” Id. at 27,873.

        Despite this acknowledgement of the pending Supreme Court cases, shortly before the

Supreme Court’s decision in Bostock, HHS released its new rule. See Nondiscrimination in Health and

Health Education Programs or Activities, 85 Fed. Reg. 37,160 (June 19, 2020) (“2020 Rule”). As Plaintiff

acknowledges, and consistent with the NPRM, the 2020 Rule rescinded the 2016 Rule’s definition of

“on the basis of sex.” Id. at 37,167; see PI Mem. at 8 (acknowledging that HHS “repealed the definition

of sex as including gender identity”). The 2020 Rule gave no supplemental definition for that term



3:16-cv-432, ECF No. 1 (D.N.D. Dec. 28, 2016). The district court consolidated those cases and
stayed enforcement of the 2016 rule against the named plaintiffs. See Religious Sisters of Mercy v. Azar,
513 F. Supp. 3d 1113, 1127 (D.N.D. 2021) (“RSM”).
2
  More recently, and as relevant here, the court that originally preliminarily enjoined the gender-identity
discrimination provision of 2016 Rule entered a permanent injunction prohibiting HHS “from
interpreting or enforcing Section 1557 . . . or any implementing regulation thereto against Plaintiffs . .
. in a manner that would require them to perform or provide insurance coverage for gender-transition
procedures or abortions.” See generally Franciscan All., Inc. v. Becerra, No. 7:16-CV-00108-O, 2021 WL
3492338, at *5 (N.D. Tex. Aug. 9, 2021). The government filed an interlocutory appeal of that order
on November 22, 2021. See Franciscan All., Inc. v. Becerra, Case No. 7:16-CV-108-0, ECF No. 212.


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beyond Title IX’s statutory text. The rule’s preamble further omitted the specific examples of

discriminatory conduct supplied by the 2016 Rule’s preamble, including its example about gender-

transition services. Id. at 37,201. And it further explained that HHS did not believe either § 1557 or

Title IX prohibited gender-identity discrimination. The 2020 Rule also expressly incorporated Title

IX’s existing statutory exemption for educational institutions controlled by religious organizations, in

addition to acknowledging that RFRA and any similar laws would apply under § 1557. Id. at 37,204.

        The Supreme Court issued its decision in Bostock three days after HHS published the 2020

Rule, holding that “it is impossible to discriminate against a person for being homosexual or

transgender without discriminating against that individual based on sex.” Bostock, 140 S. Ct. at 1741.

Shortly thereafter, several courts concluded that the 2020 Rule likely violated the APA because it did

not appropriately consider Bostock prior to issuance. As relevant here, one district court enjoined the

repeal of the 2016 definition of sex discrimination and of provisions implementing that definition to

prohibit the denial of medical procedures based on gender identity, but stated that it could not

overturn the earlier vacatur of the gender identity language by the Franciscan Alliance district court. See

Walker v. Azar, 480 F. Supp. 3d 417, 427 (E.D.N.Y. 2020). A second district court issued a preliminary

injunction enjoining the repeal of “sex stereotyping” language in the 2016 definition of sex

discrimination, and further enjoining the 2020 Rule’s incorporation of Title IX’s statutory religious

exemption. See Whitman-Walker Clinic, Inc. v. Dep’t of Health & Human Servs., 485 F. Supp. 3d 1, 64-65

(D.D.C. Sept. 2, 2020). Both district courts acknowledged that their orders did not disturb the

Franciscan Alliance district court’s 2019 vacatur of the 2016 Rule’s definition of sex discrimination that

incorporated gender-identity discrimination.         See Whitman-Walker, 485 F. Supp. 3d 1, 14

(acknowledging Franciscan Alliance vacatur); Walker, 480 F. Supp. 3d 417, 427 (same). The 2020 Rule

remains in effect subject to these two preliminary injunctions.3




3
 HHS appealed each of the two preliminary injunctions on the 2020 rule but has since stipulated to
dismissal in both appeals. See Walker v. Becerra, No. 20-3580 (2d Cir. filed Oct. 16, 2020); Whitman-
Walker Clinic v. HHS, No. 20-5331 (D.C. Cir. filed Nov. 9, 2020).


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                 3.       The 2021 Notification.
        On May 10, 2021, in response to the President’s Executive Order, HHS issued a document

titled Notification of Interpretation and Enforcement of Section 1557 of the Affordable Care Act and Title IX of the

Education Amendments of 1972. See Compl. ¶ 116; see also 86 Fed. Reg. 27,984 (May 25, 2021)

(“Notification”). The Notification explained that it was intended to “inform the public” that

“consistent with the Supreme Court’s decision in Bostock and Title IX,” HHS “will interpret and

enforce Section 1557’s prohibition on discrimination on the basis of sex to include: (1) discrimination

on the basis of sexual orientation; and (2) discrimination on the basis of gender identity.” Id. at 27,984.

The Notification did not take any position on the meaning or scope of discrimination on the basis of

sexual orientation or gender identity, nor did it provide examples of such impermissible conduct.

Instead it states that while the “interpretation will guide [the Office for Civil Rights] in processing

complaints and conducting investigations, [it] does not itself determine the outcome in any particular

case or set of facts.” Id. Indeed, the Notification does not say anything about enforcement proceedings

in any particular case or set of facts.

        To further support its interpretation of § 1557 and Title IX, the Notification explains that the

Supreme Court’s decision in Bostock held that “the plain meaning of ‘because of sex’ in Title VII

necessarily included discrimination because of sexual orientation and gender identity.” 86 Fed. Reg.
at 27,985 (citing Bostock, 140 S. Ct. at 1753-1754). It observed that several courts had since concluded

that the plain language of Title IX—which bars discrimination “on the basis of sex”—must be read

similarly. Id. And, further, the Notification cited an interagency memorandum from the Civil Rights

Division of the Department of Justice concluding that the reasoning of Bostock applies with equal force

to Title IX. Id. Finally, the Notification states that HHS “will comply with the Religious Freedom
Restoration Act, 42 U.S.C. § 2000bb et seq., and all other legal requirements,” including “all applicable

court orders that have been issued in litigation involving the Section 1557 regulations.” Id.

II.     Plaintiff And This Litigation

        Plaintiff in this case is Christian Employers Alliance, a Christian membership ministry

comprised of non-profit and for-profit employers. See Compl. ¶ 21. The complaint does not identify



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any specific CEA members. Instead, it merely alleges the organization has members, including

“multiple members that are principally engaged in the business of providing healthcare and that receive

Federal financial assistance” for such services. Id. ¶¶ 48-49. The complaint further alleges that many

CEA members “employ more than 15 employees” and therefore qualify as employers subject to Title

VII. Id. ¶ 51. CEA alleges that its members are required to hold certain religious beliefs regarding

gender and sex, including that male and female are immutable characteristics and that gender

reassignment surgery is contrary to Christian values. Id. ¶¶ 30-34; id., Ex. 1.

        CEA alleges that “for almost 10 years,” EEOC has interpreted Title VII to prohibit gender-

identity discrimination, and that EEOC correspondingly requires all employers with 15 or more

employees, including unidentified CEA members, to provide health plans that pay for and provide

gender-transition services. Compl. ¶¶ 63-65, 67, 71. CEA dubs this the “EEOC Coverage Mandate.”

Id. ¶¶ 56-85. Similarly, CEA alleges that HHS’s interpretation of § 1557 requires CEA’s unidentified

healthcare provider members to perform a litany of specific procedures related to gender transition.

See id. ¶ 123. CEA labels this the “HHS Gender Identity Mandate.” Id. ¶¶ 122-123.

        Although it does not identify any instance where either EEOC or HHS has enforced their so-

called mandates, CEA claims that each mandate compels various unidentified subsets of its members

to violate sincerely held religious beliefs or face the prospect of enforcement. See Compl. ¶15.

Accordingly, CEA brings RFRA and First Amendment Free Exercise Clause claims against both

EEOC and HHS on behalf of its unidentified members. Id. ¶¶ 152-222 (claims I-IV). It brings a First

Amendment Free Speech Clause claim against HHS specifically, alleging that the so-called HHS

Gender Identity Mandate both compels and chills speech regarding gender-transition services. Id.

¶¶223-240 (claim V). And finally, it brings an APA claim against all Defendants alleging the so-called

mandates are arbitrary and capricious, and contrary to law. Id. ¶¶ 241-273 (claim VI).

        CEA frames these claims as asking for no more than what certain other religious plaintiffs

recently received from another court within this District. See RSM, 513 F. Supp. 3d 1113, 1127

(D.N.D. 2021). That court concluded the plaintiffs there had standing to pursue RFRA claims

concerning hypothetical future enforcement actions, and that such claims were ripe despite the


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absence of any factual record. Id. And it further concluded the plaintiffs faced a credible risk of

enforcement, despite the lack of any prior or threatened future enforcement based on the theories

identified by the plaintiff in that case. Id. at 1141. While CEA insists this decision forces the Court’s

hand here, CEA’s claims sweep more broadly than those in RSM, yet CEA has made no corresponding

showing of irreparable harm that would warrant such broad preliminary relief. Just as significantly,

Defendants respectfully disagree with the decision in RSM, which itself is scheduled for oral argument

before the Eighth Circuit only days after the instant motion becomes fully briefed.

                                          LEGAL STANDARD
        “A district court considering injunctive relief evaluates the movant’s likelihood of success on

the merits, the threat of irreparable harm to the movant, the balance of the equities between the parties,

and whether an injunction is in the public interest.” Powell v. Ryan, 855 F.3d 899, 902 (8th Cir. 2017)

(citing Dataphase Sys., Inc. v. C L Sys., Inc., 640 F.2d 109, 114 (8th Cir. 1981) (en banc)). The final two

factors merge when the government is the opposing party. See Nken v. Holder, 556 U.S. 418, 435

(2009). No one factor is dispositive, and while success on the merits is ordinarily the most important,

e.g., Brady v. Nat’l Football League, 640 F.3d 785, 789 (8th Cir. 2011), “[f]ailure to show irreparable harm

is an independently sufficient ground upon which to deny a preliminary injunction,” Watkins Inc. v.

Lewis, 346 F.3d 841, 844 (8th Cir. 2003). The burden to demonstrate the necessity of injunctive relief

rests with the movant. General Motors Corp. v. Harry Brown’s, LLC, 563 F.3d 312, 316 (8th Cir. 2009).

                                             ARGUMENT
I.      The Court Lacks Subject-Matter Jurisdiction Over CEA’s Challenge To Hypothetical
        Future Enforcement Actions And CEA Therefore Cannot Prevail On The Merits
        “No principle is more fundamental to the judiciary’s proper role in our system of government

than the constitutional limitation of federal-court jurisdiction to actual cases or controversies.” Clapper

v. Amnesty Int’l USA, 568 U.S. 398, 408 (2013) (citation omitted). The case-or-controversy inquiry is

“especially rigorous when reaching the merits of the dispute would force [a court] to decide whether

an action taken by one of the other two branches of the Federal Government was” unlawful. Raines v.

Byrd, 521 U.S. 811, 819-820 (1997); see also Flast v. Cohen, 392 U.S. 83, 96 (1968) (“When the federal



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judicial power is invoked to pass upon the validity of actions by the Legislative and Executive Branches

of the Government, the rule against advisory opinions implements the separation of powers

prescribed by the Constitution and confines federal courts to the role assigned them by Article III.”).

In order to effectuate the Constitution’s command, the Supreme Court has developed the doctrines

of standing and the similar constitutional prerequisites to the exercise of jurisdiction—mootness and

ripeness. See Gray v. City of Valley Park, Mo., 567 F.3d 976 (8th Cir. 2009). These doctrines often

overlap in practice because they “all originate in Article III’s ‘case’ or ‘controversy language.’”

DaimlerChrysler Corp. v. Cuno, 547 U.S. 332, 352 (2006) (citation omitted).

        CEA’s claims against both agencies fail to meet the requirements of Article III for several

reasons, beginning with standing. To establish standing under Article III, a plaintiff must allege that

it has suffered a concrete injury, or that such an injury is “imminent” or “certainly impending.” Clapper,

568 U.S. at 409. “Allegations of possible future injury are not sufficient.” Id. (cleaned up) (emphasis in

original). Plaintiffs cannot establish an Article III injury where their alleged harm is merely

“conjectural” or “hypothetical.” Susan B. Anthony List v. Driehaus, 573 U.S. 149, 158 (2014) (SBA List)

(quoting Lujan v. Defenders of Wildlife, 504 U.S. 555, 560 (1992)).

        CEA fails to allege that it faces an imminent or certainly impending injury from either EEOC

or HHS. Instead, its complaint quarrels with the fact that those agencies, at a general level, now both

read their respective anti-discrimination statutes—Title VII and § 1557—to prohibit gender-identity

discrimination, consistent with the Supreme Court’s reasoning in Bostock.                 But that abstract

disagreement is not sufficient to supply an Article III injury. Searching to find a sufficient injury to

sustain their premature challenge, CEA contends that its members face imminent enforcement risk

from two so-called “mandates” that require those members to provide their employees with health

insurance covering gender-transition services and, for its members who are healthcare providers, to

actually perform or facilitate gender transition services. See generally Compl. ¶¶ 1-5.

        These made-for-litigation “mandates” do not exist. Tellingly, CEA does not point to any

instance where either agency has ever enforced their respective anti-discrimination laws in the manner

it describes. And, in fact, neither EEOC nor HHS has enforced Title VII or § 1557 in the way CEA


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alleges against any employer or healthcare provider, much less against CEA’s members or other

religious employers and healthcare providers who assert RFRA or other religious defenses. Indeed,

the agency materials that CEA challenges, such as the HHS Notification and EEOC Document, stress

that any future enforcement action based on gender-identity discrimination will be fact-specific and

account for all relevant religious-practice exemptions, as well as RFRA. See EEOC Document at 5;

HHS Notice at 86 Fed. Reg. at 27,985. The same materials make no reference at all to the gender-

transition procedures or services that CEA lists in the complaint.

        CEA’s theory of harm therefore boils down to this: that at some unspecified time in the future,

EEOC or HHS might choose to enforce § 1557 or Title VII in the manner ascribed to them by CEA;

that they might then also receive a complaint or have cause to investigate one of CEA’s members for

violating that prospective interpretation of law; and, further, that the agencies might then exercise their

discretion to bring enforcement actions seeking to compel one of CEA’s members to perform, or and

provide insurance coverage for, a specific gender-transition service. And, to boot, CEA simply

assumes that the agencies also will wrongly reject any religious defense that employer or provider

raises at that time. Such speculation fails to supply an Article III case or controversy—CEA may not

simply ascribe a hypothetical enforcement position to EEOC and HHS and then seek to enjoin such

enforcement.     See Agred Found. v. United States Army Corps of Engineers, 3 F.4th 1069, 1074-1075 (8th

Cir. 2021) (finding claimed pre-enforcement injury “speculative and not imminent” where agency

“refused to take a position” regarding plaintiff’s conduct); Hughes v. City of Cedar Rapids, 840 F.3d 987,

992 (8th Cir. 2016) (plaintiff did not have standing to challenge city’s use of traffic cameras where

plaintiff asserted fear of enforcement against him but had not received a notice of violation).4

        CEA’s generalized claim that its unidentified members wish to engage in conduct that might


4
 CEA’s claim of harm is all the more speculative because it fails to identify a single one of its members,
frustrating the Court’s ability to make any concrete assessment of whether any particular CEA member
actually has suffered a particularized injury, or faces any imminent irreparable harm warranting injunctive
relief. For that reason, CEA has not plausibly alleged that it has organizational standing to sue on
behalf of its anonymous present and future members. See infra Argument § I.C.



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arguably violate federal law does not confer Article III standing. See, e.g., Clapper, 568 U.S. at 410;

Thomas v. Anchorage Equal Rights Comm’n, 220 F.3d 1134, 1139 (9th Cir. 2000). That is because “[i]n

the absence of contemporary enforcement . . . a plaintiff claiming standing must show that the

likelihood of future enforcement is ‘substantial.’” California v. Texas, 141 S. Ct. 2104, 2114 (2021)

(quoting SBA List, 573 U.S. at 164); see also Lopez v. Candaele, 630 F.3d 775, 787 (9th Cir. 2010) (holding

that “‘general threats by officials to enforce those laws which they are charged to administer’ do not

create the necessary injury in fact” absent a more particularized basis for the plaintiff to fear

enforcement (quoting United Pub. Workers of Am. v. Mitchell, 330 U.S. 75, 88 (1947)) (cleaned up). CEA

cannot make that showing because neither agency has taken the position CEA ascribes to them, nor

pursued enforcement of such theories in the past.

        To be sure, such a pre-enforcement challenge may be appropriate where an identifiable
plaintiff has already been subject to enforcement. See SBA List, 573 U.S. at 158. But that is not the

case here—CEA does not (and cannot) allege that anyone, never mind one of its members, has

previously been subject to enforcement for failing to offer insurance covering gender-transition

services, or refusing to perform such services. Nor do Title VII and § 1557’s general prohibitions on

gender-identity discrimination compel the conclusion that such conduct constitutes discrimination

irrespective of the factual context, or that EEOC and HHS would choose to pursue enforcement for

such discrimination, particularly where a defendant may assert plausible religious-practice defenses.

Indeed, CEA’s theory of harm is significantly undercut by the fact that it alleges that EEOC has taken

the position for nearly a decade that failing to offer gender-transition service coverage violates Title VII,

Compl. ¶ 64, yet cannot point to a single instance where the agency has actually filed an enforcement

action on this basis. Cf. Clapper, 568 U.S. at 411 (plaintiffs’ theory of standing was “substantially

undermine[d]” by their “fail[ure] to offer any evidence that their communications ha[d] been

monitored” under the challenged statute).

        CEA’s claims are unripe for substantially the same reason. Claims are not ripe if they depend

on “contingent future events that may not occur as anticipated, or indeed may not occur at all.” Trump

v. New York, 141 S. Ct. 530, 535 (2021) (quoting Texas v. United States, 523 U.S. 296, 300 (1998)). At


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this stage, EEOC and HHS have done nothing more than explain to the public that Title VII and

§1557 prohibit gender-identity discrimination by those covered by those laws. The factual contours

of any future enforcement action are therefore hypothetical. And it may well be the case that neither

agency ever enforces its respective anti-discrimination statute in the manner CEA alleges; indeed,

neither has in the past. Cf. Iowa League of Cities v. EPA, 711 F.3d 844, 866 n.15 (8th Cir. 2013)

(explaining that agency action becomes ripe for judicial review “when agencies veer from merely

advisory statements or interpretations into binding proclamations”). And it may be the case that

neither agency ever initiates an enforcement action against CEA members, particularly after becoming

aware of their claimed religious beliefs. CEA is therefore “asking for an advisory opinion concerning

its predicament should certain facts come about.” Jenkins by Jenkins v. State of Mo., 158 F.3d 984, 986

(8th Cir. 1998). But that “is a thicket [courts] should not enter.” Id. Finally, should the agencies

actually pursue enforcement actions against a CEA member, that entity will be able to present its full

slate of constitutional and statutory defenses and, if necessary, in de novo judicial review based on a

complete factual record.

        A.      CEA has failed to demonstrate standing and ripeness for its challenge to
                EEOC’s future enforcement of Title VII.
                1.      Plaintiff has not pled an injury traceable to EEOC.

        CEA does not allege that EEOC has ever initiated a Title VII enforcement action against one

of its members for failing to cover gender-transition services under an employee health plan. Any

alleged harm to a CEA member from EEOC therefore relies upon a string of hypotheticals—(1) that

an employee of a CEA member will seek gender-transition services; (2) that the employee will file a

charge of discrimination with EEOC based on the denial of such insurance coverage; (3) that EEOC

will find reasonable cause to believe that gender discrimination occurred based on all the facts and

circumstances involved; (4) that EEOC’s attempt at voluntary conciliation with the employer will fail;

and (5) that EEOC will exercise its discretion to pursue enforcement against such an employer,

regardless of any religious defense. CEA has not adequately alleged that any of these events is likely




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to occur, never mind that all of them will.5 Federal courts are “neither required nor empowered to

wade through a quagmire of what-ifs like” CEA’s. State of Mo. ex rel. Missouri Highway & Transp. Comm’n

v. Cuffley, 112 F.3d 1332, 1338 (8th Cir. 1997). Indeed, CEA’s failure to allege that any of its members

have had, or imminently will have, an employee seek gender-transition services under an employer

health insurance plan should prove fatal to any claim of standing. See Thomas, 220 F.3d at 1139-1140

(landlords who refused to rent to unmarried couples on religious grounds did not have standing to

challenge nondiscrimination law where landlords could not identify any tenants turned away due to

their marital status and no prospective tenant had every complained about landlords).

        Because it cannot point to any actual discrete enforcement risk to one of its members, CEA

instead relies on the claim that EEOC has interpreted Title VII “to require employers . . . that provide

health plans or employee health insurance coverage to pay for and provide gender transition services

within those benefits” or to “risk facing serious and harsh penalties.” Compl. ¶¶ 65-66. CEA deems

this the “EEOC Coverage Mandate.” Id. But EEOC’s enforcement materials reflect that it has not

taken any position on whether an objecting religious entity’s refusal to provide gender-transition

services under a health plan constitutes unlawful discrimination. For example, EEOC’s Compliance

Manual on Religious Discrimination, Directive 915.063, § 12 (Jan. 15, 2021) suggests that this remains

an open question, stating that the “applicability and scope of . . . defenses based on Title VII’s

interaction with the First Amendment or . . . RFRA[] is an evolving area of the law.” Id. at § 12-1-C.

The EEOC Compliance Manual also counsels EEOC investigators to “take great care” in situations

involving RFRA, directs EEOC personnel to “seek the advice of the EEOC Legal Counsel in such a

situation,” and notes that “on occasion, the [EEOC] Legal Counsel may consult as needed with the

U.S. Department of Justice.” Id.


5
  In fact, the probability of such contingencies actually occurring to a CEA member is remote. In the
last eight years, EEOC has found reasonable cause for approximately 3% of the LGBT-based sex
discrimination charges it has received. See EEOC, Title VII of the Civil Rights Act of 1964 Charges,
https://go.usa.gov/x6bED. Relatedly, in the last nine years, EEOC has filed only between 46 and
117 Title VII enforcement actions, of any sort, per year. See EEOC, EEOC Litigation Statistics, FY
1997 through FY 2020, https://go.usa.gov/x6bmB.


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        The recently issued EEOC Document confirms the point. That document reiterated the

agency’s “established legal position[]” that gender-identity discrimination is prohibited by Title VII, a

conclusion that the Supreme Court confirmed in Bostock. But the mere fact that EEOC interprets

Title VII to proscribe gender-identity discrimination as a general matter does not mean that EEOC

will conclude that every particular set of facts—including the denial of coverage for gender-transition

services—constitutes gender-identity discrimination. See Trump, 141 S. Ct. at 534. In Trump, the

Supreme Court considered plaintiffs’ constitutional challenge to a Presidential Memorandum

concerning the census that declared a policy of excluding “‘from the apportionment base [noncitizens]

who are not in a lawful immigration status.’” Id. (citation omitted). The Court found that the plaintiffs’

theory of standing was “riddled with contingencies and speculation that impede[d] judicial review.”

Id. at 535. Although the President had stated his policy in plain terms, it was not then clear how the

policy would be put into practice, “let alone” whether it would be put into practice “in a manner

substantially likely to harm any of the plaintiffs here.” Id. at 535. As the Court explained, “the

Government’s eventual action will reflect both legal and practical constraints, making any prediction

about future injury just that—a prediction.” Id. at 536.

        The same analysis applies with equal force here. EEOC understands Title VII to proscribe

gender-identity discrimination, but any future agency action will reflect the legal and practice

constraints of enforcing such a prohibition, particularly where a religious defense is raised. While

CEA alleges that EEOC does not permit religious exemptions to its so-called coverage mandate

(Compl. ¶ 8), the EEOC Document makes clear that the “ministerial exception . . . bars certain

employment discrimination claims by the employees of religious institutions,” and, further, that other

“defenses might also be available to employers depending on the facts of a particular case.” EEOC

Document at 5; see also EEOC Compliance Manual.6

        CEA contends that EEOC has set out such a definitive enforcement position by pointing to a


6
 Indeed, EEOC sometimes does dismiss charges where employers raise religious defenses. See, e.g.,
Newsome v. EEOC, 301 F.3d 227, 229-230 (5th Cir. 2002) (per curiam).


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single enforcement action—EEOC v. Deluxe Financial Services, Inc., No. 0:15-cv-2646 (D. Minn.). See

Compl. ¶ 73. But in that case, EEOC did not assert any claims concerning the scope of gender-

transition services covered by the employer’s insurance plan. See EEOC v. Deluxe Financial Services, Inc.,

No. 0:15-cv-2646 (D. Minn.), ECF No. 1 (EEOC complaint). Instead, the employee in question

intervened and asserted such claims. See id., ECF No. 26 (intervenor complaint). The district court

subsequently entered a consent decree signed by all parties providing relief on the insurance-coverage

claim. See id., ECF No. 37 at 11 (consent decree). But at no point in the proceedings did EEOC itself

adopt the private employee’s legal theories as its own, and CEA may not impute the private litigant’s

challenge to EEOC. See Balogh v. Lombardi, 816 F.3d 536, 544 (8th Cir. 2016) (plaintiff did not have

standing despite the threat of private lawsuits because the “injury is ‘fairly traceable’ only to the private

civil litigants”); Digital Recognition Network, Inc. v. Hutchinson, 803 F.3d 952, 958 (8th Cir. 2015) (“Private

litigants with rights to enforce the Act would not be the subject of any relief in this action, and any

judgment would not oblige private litigants to refrain from proceeding under the act.”). CEA is simply

wrong in alleging that EEOC “specifically enforced” Title VII to require such insurance coverage.

Compl. ¶ 73. Further still, the employer in that case was not a religious employer, nor did it raise any

RFRA or First Amendment defense in the district court proceedings.

        CEA also points to an amicus brief that EEOC filed in Robinson v. Dignity Health, No. 16-cv-

3035, 2016 WL 3153023 (N.D. Cal.) (“Robinson”). See Compl. ¶¶ 74-76. But as with Deluxe Financial

Services, the claimant there was a private employee pursing a Title VII claim, not EEOC. In fact,

EEOC declined to pursue its own enforcement action in that case. Robinson, ECF No. 1-2 at 5.

Moreover, Dignity Health also did not raise any religion-based defenses to the private employee’s claim.

See Robinson, ECF Nos. 49-1, 50. Further still, while CEA claims that Dignity Health is “a large health

care system that includes many Catholic hospitals,” Compl. ¶ 74, the actual employer-hospital at issue

in that case describes itself as “non-Catholic.” See Chandler Regional Medical Center, About Us,

https://perma.cc/WP9L-AFDY. EEOC filed an amicus brief in support of the employee agreeing

that he had stated a plausible Title VII claim against his non-religious employer asserting no religious

defense; but that case-specific conclusion, filed as a non-party amicus, hardly rises to the status of a


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“mandate,” particularly as to religious employers. The fact that CEA cannot point to an enforcement

action brought by EEOC on such grounds—never mind one against a religious employer or employer

asserting religious defenses—proves the point.

         CEA relies heavily on the fact that the RSM court concluded the CBA plaintiffs in that case

had standing to challenge EEOC’s Title VII enforcement. But that conclusion relied upon the

mistaken understanding that under the 2016 Rule, “HHS confirmed that the EEOC would pursue

enforcement actions against nonhealthcare employers with gender-transition exclusions in their health

plans.” RSM, 513 F. Supp. 3d at 1141. As an initial matter, CEA’s claims here appear to sweep far

more broadly—it alleges that EEOC has independently established its own coverage “mandate” under

Title VII, and not only that it will accept referrals from HHS under the 2016 Rule. Compare RSM,

Case No. 3:16-cv-386, ECF No. 97 ¶¶ 154-161 (alleging the 2016 Rule “announces that the EEOC

will enforce a similar rule” to HHS) with Compl. ¶ 64 (alleging EEOC’s position has been “consistent

. . . for almost 10 years”).

        The RSM court also misread the relevant portion of the 2016 Rule, which stated only that

when HHS “lack[ed] jurisdiction over an employer responsible for” an allegedly discriminatory health-

insurance plan, HHS “typically will refer or transfer the matter to EEOC and allow that agency to

address the matter.” 81 Fed. Reg. at 31,432. The mere fact that HHS, under a now rescinded rule,

would refer cases to EEOC did not “confirm” or “announce” that EEOC itself would ultimately

pursue enforcement actions against employers with gender-transition exclusions in their health plans,

never mind against religious employers. That is particularly true given that HHS itself, and not EEOC,

promulgated the 2016 Rule.7

7
  The RSM court further erred in concluding that plaintiffs had sufficiently established an imminent
risk of enforcement. The two cases it relied upon to that end—United Food & Commercial Workers
International Union v. IBP, Inc., 857 F.2d 422 (8th Cir. 1988), and Rodgers v. Bryant, 942 F.3d 451, 455 (8th
Cir. 2019) —involved circumstances where the defendants had previously brought enforcement actions
against the plaintiffs. See 857 F.2d at 427 (explaining that past prosecution is “relevant to determining
the existence of a present threatened injury”); 942 F.3d at 455 (explaining that plaintiffs’ fear of
prosecution was not unreasonable because “they have already been arrested or cited under a prior
version of the law”). CEA cannot make a similar claim here. In both cases the statutes at issue also
unambiguously proscribed the conduct at issue. See 857 F.2d at 430 (noting that the plaintiffs “desire
to engage in conduct violative of” the law); 942 F.3d at 455 (noting that “the law’s plain language

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        Finally, CEA’s challenge to EEOC poses significant traceability issues. CEA does not place

the EEOC “mandate” in any legislative rule or regulation—indeed, EEOC cannot promulgate such

rules or regulations. See Gen. Electric Co. v. Gilbert, 429 U.S. 125 (1976). CEA instead challenges

EEOC’s purported interpretation of Title VII itself, as well as various interpretive rules and policy

statements EEOC has published, but which lack any independent legal force. See AT&T Co. v. EEOC,

270 F.3d 973, 976 (D.C. Cir. 2001) (explaining EEOC inflicted no harm on plaintiff “merely by

expressing its view of the law—a view that has force only to the extent the agency can persuade a

court to the same conclusion”). Its request that the Court “set aside . . . EEOC’s agency guidance and

the resulting EEOC Coverage Mandate,” Compl., Prayer for Relief § D, illustrates the point. Such

“agency guidance” by definition lacks the force of law, and setting it aside would grant no meaningful

relief to CEA. Plaintiff therefore cannot trace any present or future harm to this agency interpretive

guidance. See Von Aulock v. Smith, 720 F.2d 176, 181 (D.C. Cir. 1983) (finding plaintiffs lacked standing

in challenge to interpretive bulletin, even in the absence of the guidance, the agency could still apply

the same interpretation).

                2.      Plaintiff’s claims against EEOC are not ripe.

        CEA’s claims against EEOC are not ripe for similar reasons. “‘Ripeness requir[es] [the court]

to evaluate both the fitness of the issues for judicial decision and the hardship to the parties of

withholding court consideration.’” United States v. Gates, 915 F.3d 561, 563 (8th Cir. 2019) (quoting

Texas, 523 U.S. at 300-01). “The fitness prong safeguards against judicial review of hypothetical or

speculative disagreements.” Id. (citation omitted). “The hardship prong considers whether delayed

review inflicts significant practical harm on the petitioner.” Id. (citation omitted).

        CEA’s challenge is not fit for judicial review because, at this stage, the Court would be

reviewing a purely hypothetical disagreement without the benefit of any concrete set of facts. See

covers [the plaintiffs’] intended activities”). But while Title VII proscribes gender-identity
discrimination generally, the convergence of Title VII and RFRA—the relevant statutes in this case—
in this context leaves uncertainty regarding the scope of proscribed conduct, as the Supreme Court
itself recognized. See Bostock, 140 S. Ct. at 1754 (reserving the question of how RFRA and other
“doctrines protecting religious liberty interact with Title VII” and explaining that these “are questions
for future cases”).


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Gates, 915 F.3d at 563 (“The fitness prong safeguards against judicial review of hypothetical or

speculative disagreements.”). While CEA speculates about how EEOC may enforce Title VII in the

future, any actual dispute over enforcement would require resolving numerous predicate factual

questions concerning, among others, the employer’s allegedly discriminatory actions; the nature of the

employer’s religious beliefs; and the extent of any burden placed upon them by EEOC’s enforcement.

This factual development is required not only because EEOC must adduce actual evidence of

discrimination by the employer, but also because RFRA itself “requires the Government to

demonstrate that the compelling interest test is satisfied through application of the challenged law ‘to
the person’—the particular claimant whose sincere exercise of religion is being substantially

burdened.” Gonzales v. O Centro Espirita Beneficente Uniao do Vegetal, 546 U.S. 418, 430-431, (2006)

(further explaining RFRA concerns granting exemptions “to particular religious claimants”). And

RFRA similarly requires courts themselves to “strike sensible balances, pursuant to a compelling

interest test that requires the Government to address the particular practice at issue.” Id. at 439 (emphasis

added). But because EEOC has not yet enforced Title VII in the manner CEA describes, there is no

substantial burden upon a “particular claimant” or “person,” or a “particular practice at issue,” to

evaluate against a concrete claim of discrimination involving an actual applicant or employee. Simply

put, CEA seeks an advisory opinion from the Court about whether a hypothetical future enforcement

action against one of its members would be lawful, which is not a permissible basis for a challenge.

See Ohio Forestry Ass'n, Inc. v. Sierra Club, 523 U.S. 726, 736 (1998) (concluding that dispute was not

justiciable where review “would require time-consuming judicial consideration” “without benefit of

the focus that a particular [application of the challenged agency plan] could provide”); accord Princeton

Univ. v. Schmid, 455 U.S. 100, 102 (1982) (per curiam) (“We do not sit to . . . give advisory opinions

about issues as to which there are not adverse parties before us.”).

        The Supreme Court has denied challenges as unripe where the theory of the case preceded

any certainty regarding how the challenged laws might actually be applied, even where the challenge

turned primarily on legal issues. For example, in National Park Hospitality Association v. Department of

Interior, 538 U.S. 803 (2003), the “purely legal” question at issue centered on whether the Contract


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Disputes Act of 1978 was applicable to concessions contracts. But the Court still held that the need

for factual development made the dispute unripe because there might be some subset of contracts for

which the answer would be different, and because even the facial challenge in that case relied on

factual questions about different types of contracts. Id. at 812. The same is true here—even if it is a

purely legal question whether Title VII prohibits to the failure to cover gender-transition services,

there remain substantial questions regarding when and how that prohibition would be enforced, as

the Supreme Court has recognized. Cf. Bostock., 140 S. Ct. at 1753. Courts have long recognized that

even a “purely legal” question is unfit for adjudication where a concrete factual context would facilitate
a court’s “ability to deal with the legal issues presented.” National Park Hosp. Ass’n, 538 U.S. at 812

(quotation marks omitted); see, e.g., Texas, 523 U.S. at 301; California Bankers Ass’n v. Shultz, 416 U.S.

21, 56 (1974); Toilet Goods Ass’n v. Gardner, 387 U.S. 158, 163 (1967); Zemel v. Rusk, 381 U.S. 1, 18-20

(1965); Communist Party of the U.S. v. Subversive Activities Control Bd., 367 U.S. 1, 78 (1961); United Pub.

Workers of Am. v. Mitchell, 330 U.S. 75, 89-90 (1947).

        Ultimately, the operation of EEOC’s enforcement policies will be “better grasped when

viewed in light of a particular application” because “[d]etermination of the scope of . . . legislation in

advance of its immediate adverse effect in the context of a concrete case involves too remote and

abstract an inquiry for the proper exercise of the judicial function.” Texas, 523 U.S. at 301 (quoting

Longshoremen v. Boyd, 347 U.S. 222, 224 (1954)) (cleaned up). The judicial function is properly limited

to such concrete cases or controversies, and should not be expanded to permit private plaintiffs to

preemptively block agencies from adopting positions based purely on the plaintiff’s abstract

disagreement with such positions. See Ohio Forestry Ass’n, 523 U.S. at 733 (considering whether

“judicial intervention would inappropriately interfere with further administrative action” in finding

case not justiciable); Missourians for Fiscal Accountability v. Klahr, 830 F.3d 789, 796 (8th Cir. 2016)

(ripeness protects “agencies from judicial interference until an administrative decision has been

formalized and its effects felt in a concrete way by the challenging parties”).8

8
  The RSM court concluded that the CBA’s claims against EEOC were ripe because “no additional
factual development” was needed. 513 F. Supp. 3d at 1145. But before a court could rule in EEOC’s

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        Finally, because CEA has not alleged any plausible, imminent threat of enforcement by EEOC

against its members, no hardship will be imposed on CEA or its members by waiting until there is a

concrete dispute for the Court to review. The Eighth Circuit “has repeatedly stated that a case is not

ripe if the plaintiff makes no showing that the injury is direct, immediate, or certain to occur.” See

Public Water Supply Dist. No. 10 of Cass Cty. v. City of Peculiar, 345 F.3d 570, 573 (8th Cir. 2003).

Forestalling review poses no prejudice to any CEA member who may be involved in such a

hypothetical future dispute because the employer-member would be perfectly free at that time to raise

the same statutory and constitutional arguments that CEA raises here—assuming an EEOC

administrative charge is ever even filed against them to begin with. See id. (holding that case was not

ripe where plaintiff faced “no hardship as a result of this court withholding review because it can raise

its” claim challenging the city’s dissolution of a district “when and if a petition [for dissolution] is

filed”). Indeed, another court within this district has already found that forestalling unripe challenges
to EEOC enforcement procedures poses no hardship because “[i]f and when the EEOC or the

charging party files suit in district court . . . the plaintiff will have the opportunity to refute the charges.”

See Standing Rock Hous. Auth. v. EEOC, 585 F. Supp. 2d 1112, 1120 (D.N.D. 2008) (Hovland, J.)

(quoting Georator Corp. v. EEOC, 592 F.2d 765, 768 (4th Cir. 1979). CEA offers no explanation as to

why each claim asserted here could not similarly be raised for de novo review in any future enforcement

proceeding, if one were ever to take place.

        CEA also does not plausibly allege that any of its members currently face any hardship

attributable to the EEOC. Indeed, many of its members “already categorically exclude coverage for

gender transition services,” Compl. ¶ 54, belying any claim that EEOC’s policies discourage them

from doing so. Further, to the extent other members “desire to categorically exclude such coverage

for gender transition services,” id., CEA nowhere alleges that their desire is thwarted by EEOC. Even

favor in an enforcement action, it would necessarily need to evaluate a factual record regarding the
employer’s conduct, what EEOC asked the employer to do differently, what burden that request
places on the plaintiff’s religious exercise, and whether EEOC could comply with RFRA’s strict
scrutiny standard. Moreover, as the Supreme Court explained in National Park Hospitality Association,
cases presenting purely legal questions are still unripe if further factual development would aid
resolution of the case.


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if one of these unidentified members was theoretically hesitant to adopt such exclusionary health

coverage, “mere uncertainty” about the law does not “constitute[] a hardship for purposes of the

ripeness analysis.” Nat’l Park Hosp. Ass’n, 538 U.S. at 811.

        B.      CEA has failed to demonstrate standing and ripeness for its challenge to
                HHS’s future enforcement of § 1557.
                1.      Plaintiff lacks standing to challenge HHS’s interpretation of § 1557.

        The Supreme Court explained in Bostock that it is “impossible to discriminate against a person”

on the basis of sexual orientation or gender identity “without discriminating against that individual

based on sex.” Bostock, 140 S. Ct. at 1741. In May 2021, HHS issued its Notification stating that,

going forward, it would also read § 1557’s prohibition on sex discrimination, through its incorporation

of Title IX, “to include: (1) Discrimination on the basis of sexual orientation; and (2) discrimination

on the basis of gender identity.” 86 Fed. Reg. at 27,984. But the Notification goes no further than

the reasoning of Bostock itself, explaining that the Notification’s interpretation “will guide” HHS “in

processing complaints and conducting investigations, but does not itself determine the outcome in

any particular case or set of facts.” Id. And it further stressed that HHS, in any future enforcement

actions, would “comply with [RFRA]” and all applicable court orders. Id. Nothing in the Notification,

or any other HHS rule or guidance, evaluates whether § 1557 requires provision and coverage of

gender-transition procedures by entities with religious objections to providing or covering such

procedures, or how RFRA and other religious exemptions might apply to such entities.

        CEA nonetheless alleges that HHS requires its unidentified healthcare members to perform a

wide array of services, including prescribing drugs and performing various surgical procedures on

people seeking gender-transition services. See Compl. ¶ 123(a)-(w). Setting aside that CEA does not

even allege that any of its anonymous healthcare members have ever been asked to perform these

procedures by someone seeking gender-transition services, in neither the 2020 Rule nor the

Notification has HHS taken the view that refusal to provide these services constitutes gender-identity

discrimination. To the contrary, the Notification expressly states that its interpretation of § 1557 does

not “determine the outcome in any particular case or set of facts.” 86 Fed. Reg. at 27,985. CEA’s



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claim to the contrary, made without pointing to a single instance of the agency taking such a view, is

pure speculation.

        The Supreme Court’s recent decision in Trump v. New York is again instructive. The President

there issued a “general statement of policy” regarding the Census but did not explain how it would be

specifically implemented. The Court concluded standing was lacking because “[a]ny prediction how

the Executive Branch might eventually implement this general statement of policy is ‘no more than

conjecture’ at this time.” Trump, 141 S. Ct. at 535 (quoting Los Angeles v. Lyons, 461 U.S. 95, 108

(1983)). CEA’s predictions here about how HHS may someday enforce the Notification—which does

not say a word about any of the procedures or prescriptions identified in the complaint—offers
similarly insufficient conjecture. Id. (explaining the “policy may not prove feasible to implement in

any manner whatsoever, let alone in a manner substantially likely to harm any of the plaintiffs here”).

        CEA’s claimed harm is all the more conjectural because the Notification explicitly states that

HHS “will comply with the Religious Freedom Restoration Act, 42 U.S.C. § 2000bb et seq., and all

other legal requirements.” 86 Fed. Reg. at 27,985. CEA acknowledges the Notification’s stated intent

to comply with RFRA, see Compl. ¶ 117, but complains that it “did not detail how HHS would comply

with RFRA,” id. ¶ 118. But that gets it backwards—RFRA calls for an individualized determination

into how agency action burdens a particular person’s religious practice, and whether that burden is

justified by a compelling interest and narrowly-tailored policy. See O Centro, 546 U.S. at 430-431, 439.

HHS, of course, cannot predict in advance how RFRA will apply to any particular future enforcement

action or set of facts—precisely why the Notification says any application will be on a case-by-case

basis. See 86 Fed. Reg. at 27,985. That highlights the flaw with CEA’s theory of harm—its complaint

simply assumes that HHS will not properly apply RFRA in some future proceeding if it also chooses

to enforce § 1557 in a particular manner. But standing cannot rest on such “contingencies and

speculation” about the contours of future enforcement that may well never come. Trump, 141 S. Ct.

at 535 (explaining such theories of standing “impede judicial review”); see also Iowa Right To Life Comm.,

Inc. v. Tooker, 717 F.3d 576, 586 (8th Cir. 2013) (finding lack of standing where state “ha[d] not

threatened” enforcement action against plaintiff, “let alone threatened” to do so without applying


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proper legal standards).

        Plaintiff’s remaining argument is that the preliminary injunctions entered against the 2020

Rule, in effect, “reinstated the 2016 Rule’s definition” of discrimination on the basis of sex

incorporating gender-identity discrimination, and “eliminated the religious exemption protection from

Title IX.” PI Mot. at 9; see also Compl. ¶ 120. As an initial matter, that is not correct, as both courts

that entered preliminary injunctions against portions of the 2020 Rule acknowledged that they had

“no power to revive [provisions] vacated by another district court.” Walker, 480 F. Supp. 3d at 427;

Whitman-Walker Clinic, Inc., 485 F.Supp.3d at 26 (explaining that the court was “powerless to revive”

provisions that the Franciscan Alliance district court had vacated). Accordingly, the preliminary

injunctions against the 2020 Rule did not affect the Franciscan Alliance district court’s vacatur of the

2016 Rule “insofar as [it] define[d] ‘on the basis of sex’ to include gender identity.” Order at 2,

Franciscan All., 414 F. Supp. 3d 928 (No. 16-cv-00108), ECF No. 182 (quotation marks omitted).

Further, even if these injunctions had reinstated a definition of sex discrimination incorporating

gender-identity discrimination, that would not place CEA member’s at imminent risk of enforcement.

The Notification confirms the point, explaining that any future gender-identity discrimination

enforcement will be case-specific and account for RFRA. See 86 Fed. Reg. 27,985.

        The RSM court concluded that the plaintiffs there had standing to challenge HHS’s

interpretation of § 1557, but it relied upon the same flawed argument regarding the effect of the

Whitman-Walker and Walker injunctions. See 513 F. Supp. 3d at 1138.9 The RSM court’s conclusion

on standing was also, itself, speculative. For example, it concluded that “Section 1557 arguably

proscribes Plaintiffs’ refusal to perform or cover gender-transition procedures.” 513 F. Supp. 3d at

1138 (citation omitted and emphasis added). But it is not enough that § 1557 “arguably” proscribes

actions that CEA members purportedly wish to take—the asserted proscription must be “actual or

imminent” to supply standing. SBA List, 573 U.S. at 158. That requires CEA, as well as the plaintiffs

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 Further, that court did not have the benefit of considering the Notification, which made clear that
HHS has not staked out a definitive enforcement position on such conduct and would expressly
account for RFRA in any enforcement proceeding. See 86 Fed. Reg. at 27,985.


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in RSM, to establish that the “threat of future enforcement . . . is substantial,” for example by showing

“a history of past enforcement” or where the agency made a prior determination of “probable cause”

that a specific person or entity violated the statute. Id. at 164. But no such showing has been made

here. See Wallace v. ConAgra Foods, Inc., 747 F.3d 1025, 1030 (8th Cir. 2014) (explaining that “‘mere

speculation’ that injury did or might occur ‘cannot satisfy’” Article III’s requirement that an injury be

“‘concrete, particularized, and actual or imminent’” (emphasis in original) (citation omitted)).

        Similarly, the court found that because the 2020 Rule did not adopt a regulatory definition of

sex, and instead merely adopted the statutory text, it “l[eft] the door open to” possible future

applications of Bostock. 513 F. Supp. 3d at 1138. But the fact that Bostock ‘left open the door’ to

particular applications of a statute does not place CEA or its members at imminent risk of such

applications, particularly where HHS has made clear that any future applications will comply with

RFRA. See 86 Fed. Reg. at 7,024 (directing agencies to “consider whether to” take any actions

“necessary to fully implement statutes that prohibit sex discrimination” and “consistent with

applicable law” (which includes RFRA)); 86 Fed. Reg. at 27,985 (explicitly stating that HHS “will

comply with the Religious Freedom Restoration Act, 42 U.S.C. § 2000bb et seq., and all other legal

requirements” when enforcing Section 1557). Bostock itself expressly noted that these were questions

for future, concrete cases. See 140 S. Ct. at 1754 (explaining RFRA “operates as a kind of super statute”

that “might supersede Title VII’s commands in appropriate cases” but that the contours of such

doctrine are “for future cases”).

        Finally, the RSM court concluded the plaintiffs faced a credible threat of enforcement,

reasoning that “[s]uch a threat arises when a course of action is within the plain text of a statute.” 513

F. Supp. 3d at 1139 (citation omitted). But the convergence of § 1557 and RFRA—the relevant

statutes in this case—in this context leaves uncertainty regarding the scope of proscribed conduct.

The RSM court reached that conclusion by considering § 1557 and Title IX in isolation. But as Bostock

explained, RFRA may “supersede” the application of other statutes in certain cases. 140 S. Ct. at 1754.

The RSM court thus erred in failing to consider the interaction of RFRA with § 1557.




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                2.      Plaintiff’s claims against HHS are not ripe.

        Plaintiff’s claims against HHS are also unripe for substantially the same reasons. As with its

claims against EEOC, the RFRA and First Amendment claims CEA brings against HHS ultimately

turn on case-specific assessments and are thus are not yet fit for judicial review. Any dispute will turn

on non-legal questions about how HHS chooses to enforce § 1557 in the future and the facts of a

specific enforcement proceeding. For example, HHS could interpret § 1557 to require provision of

some gender-transition services or none at all. And it could further require that some services be

provided only under particular circumstances, or only by particular kinds of providers. Until there is

a fully developed factual record in which HHS is actually requiring one of Plaintiff’s members to do

something specific, the Court cannot evaluate whether a particular member’s religion is substantially

burdened, and whether HHS puts forth a sufficiently compelling interest, using the least restrictive

means, in regulating that member’s conduct. See Cuffley, 112 F.3d at 1337. Indeed, HHS could take

the view that religious entities do not need to provide certain services at all, mooting any dispute

altogether. See Nat’l Right to Life Political Action Comm. v. Connor, 323 F.3d 684, 694 (8th Cir. 2003)

(holding that case was not ripe because “[w]ithout additional factual development, we cannot be sure

there is even a dispute here to resolve.”). HHS has not set forth the circumstances, if any, where §

1557 may require provision of gender-transition services, or when religious defenses might overcome

such requirements. For that reason, CEA’s claims are best adjudicated in the context of a developed

factual record in which HHS is actually requiring a CEA member to do something specific, at which

point that member will be able to assert the same claims here. See Renne v. Geary, 501 U.S. 312, 324

(1991) (explaining that “[r]ules of justiciability” counsel against deciding a case “based upon the

amorphous and ill-defined factual record presented to us”).

        The RSM court found a RFRA claim ripe for review because it found that plaintiffs “must

either alter their policies for providing and covering gender-transition procedures (which the Catholic

Plaintiffs assert will violate their religious beliefs and North Dakota its sovereign interests) or risk the

loss of critical federal healthcare funding along with potential civil and criminal penalties.” 513 F.

Supp. 3d at 1145. But that analysis ignores the governing regulatory framework and incorrectly


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presumes that a sudden suspension of federal funding is possible. Plaintiffs do not face a risk of

sudden loss of healthcare funding but a risk that they will one day be subject to a notice of a failure to

comply and an informal procedure whereby HHS will determine whether voluntarily compliance is

possible—followed by an administrative hearing and notice to congressional committees—all before

the possibility of suspension of federal funding. 20 U.S.C. § 1682; Colwell v. HHS, 558 F.3d 1112,

1128-1129 (9th Cir. 2009); cf. Nat’l Fam. Plan. & Reprod. Health Ass'n, Inc. v. Gonzales, 468 F.3d 826, 829

(D.C. Cir. 2006) (finding lack of standing where noncompliance would not “trigger an immediate

funding cut-off” due to intervening administrative process).

        Because CEA and its members have not suffered any injury and face no prospect of imminent

enforcement, withholding review here imposes no hardship upon them. Cf. 281 Care Comm. v. Arneson,

638 F.3d 621, 631 (8th Cir. 2011) (claim was ripe where plaintiffs’ alleged injury was “not based on

speculation about a particular future prosecution”). Withholding review now does not prejudice a

CEA member’s ability to assert identical claims—with the benefit of a concrete factual backdrop—in

an actual enforcement action later, assuming such enforcement ever occurs. Ohio Forestry Ass’n, 523

U.S. at 729-30, 733-734 (holding that case was not ripe where plaintiff “will have ample opportunity

later to bring its legal challenge at a time when harm is more imminent and more certain,” and noting

that there would be an administrative process before plaintiffs would face any “practical harm”).
        C.      CEA has failed to establish associational standing on behalf of its unidentified
                members.
        CEA seeks relief “[o]n behalf of its members,” rather than on its own behalf. Compl. ¶ 13;

see also id. ¶¶ 14-15; Prayer for Relief. To establish such “representational” or “associational” standing,

it must show that (1) its members would have standing to sue in their own right, (2) the interests it

seeks to vindicate are germane to the organization’s purpose, and (3) the participation of individual

members is not required. See Hunt v. Wash. State Apple Advertising Comm’n, 432 U.S. 333, 343 (1977);

Missouri Prot. & Advoc. Servs., Inc. v. Carnahan, 499 F.3d 803, 809 (8th Cir. 2007) (same). But in neither

its complaint nor preliminary injunction motion does CEA ever explain how it has standing to seek

relief on behalf of these anonymous members.



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        CEA already cannot establish the first requirement, standing, on behalf of any individual

member for the reasons above. But its failure to identify a single member potentially harmed by the

so-called mandates, or to supply any affidavit from its members illustrating alleged harms, further

frustrates the Court’s obligation to ensure that it possesses Article III jurisdiction. Because “the court

has an independent obligation to assure [itself] that standing exists,” it may not simply “accept[] the

organizations’ self-description[] of [its] membership.” Summers v. Earth Island Inst., 555 U.S. 488, 499

(2009). Without identifying any members or supplying any affidavits, for example, “how is the court

to assure itself” that plaintiffs are actually “affected by the challenged activity” or will be “burdened

by the . . . challenged procedures?” Id. That is why “the [Supreme] Court has required plaintiffs

claiming organizational standing to identify members who have suffered the requisite harm.” Id.; see

also Ouachita Watch League v. United States Forest Serv., 858 F.3d 539, 543 (8th Cir. 2017) (finding no live

case or controversy where plaintiff failed to identify members).10
        CEA also fails to meet the third requirement for associational standing because “the claim[s]

asserted [and] the relief requested requires the participation of individual members in the lawsuit.”

Hunt, 432 U.S. at 343. RFRA claims, along with CEA’s closely-related First Amendment claims, turn

on a plaintiff’s ability to show that the plaintiff’s exercise of a sincerely held religious belief is

substantially burdened, and on the government’s ability to show a compelling interest served by the

least restrictive means. See Burwell v. Hobby Lobby Stores, Inc., 134 S. Ct. 2751, 2761 (2014). The nature

of a specific employer’s asserted religious beliefs, and the extent to which they are burdened by any

putative agency enforcement, are particularized determinations that will vary based on the

discriminatory conduct alleged, the scope of what an enforcing agency believes the law requires, the

impact of that requirement on the religious objector, and the nature of the objector’s religious beliefs.

For that reason, claims based on religious belief “ordinarily require[] individual participation” because

“it is necessary” in such a case “for one to show the coercive effect of the enactment as it operates


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  Organizational plaintiffs may, in limited cases, proceed without identifying their members. See, e.g.,
NAACP v. Alabama, 357 U.S. 449 (1958). But CEA makes no effort to show that such an exception
applies here.


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against him in the practice of his religion.” See Harris v. McRae, 448 U.S. 297, 321 (1980) (finding

organization lacked standing to challenge Hyde Amendment); see also Sch. Dist. of Abington Twp., Pa. v.

Schempp, 374 U.S. 203, 223 (1963) (explaining that the purpose of the Free Exercise Clause is “to secure

religious liberty in the individual” and “[h]ence it is necessary . . . for one to show the coercive effect of

the enactment as it operates against him in the practice of his religion” (emphases added)).

        The need for individual member participation is heightened by CEA’s choice to pursue

preliminary injunctive relief, a category of “requested relief” that almost by definition “require[]s the

participation of individual members.” Hunt, 432 U.S. at 343. Preliminary relief requires CEA to

establish, among other things, irreparable harm. See Winter v. NRDC, Inc., 555 U.S. 7, 22 (2008). But

the degree to which any one CEA member faces imminent irreparable harm is a fact-specific and

necessarily individualistic inquiry. CEA assures the Court that it has “numerous members,” Compl. ¶

48, that “[m]ost of CEA’s members employ more than 15 employees,” id. ¶ 51, and that, with “possible

exception[s],” id. at ¶ 47, most of these employers offer health insurance. But, for example, do any of

these CEA members actually employ a transgender person or have a patient seeking gender-transition

services? Does that member offer health insurance or provide services comparable to the requested

gender-transition service? Has an employee asked that such insurance cover gender-transition

services? Has the same employee or patient threatened to file a complaint with EEOC or HHS? CEA

elides these questions altogether by failing to name any members who claim to be harmed. But that is

not appropriate where, as here, the answers to these questions speak to the scope of relief, the

appropriateness of a preliminary injunction, and whether an Article III controversy exists at all.

        CEA goes further still by seeking preliminary relief on behalf of future members, Compl. ¶ 15;

PI Mem. at 46, but it is not possible for the Court to determine whether these hypothetical future

members—which, by definition, are not presently identifiable and may not exist—are entitled to

preliminary relief now because of the prospect of imminent and irreparable harm. Indeed, CEA fails to

explain how its requested injunctive relief for any of its members complies with Rule 65’s requirement

that such relief “describe in reasonable detail . . . the act or acts restrained or required.” Fed. R. Civ.

P. 65(a). EEOC and HHS have no way of knowing who CEA’s members are, and by extending


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injunctive relief to future members, non-parties to this action could potentially avoid enforcement by

seeking to join CEA after-the-fact, rather than putting forth their own good faith RFRA claims.

        CEA tries to overcome this deficiency by alleging that it has membership requirements that

ensure its members all hold religious beliefs that are necessarily burdened here. See Compl. ¶¶ 43-55.

But CEA’s self-described membership standards do not relieve the Court from examining the actual

burden of the so-called “mandates” on any individual CEA member’s religious exercise, Harris, 448

U.S. at 321, or from finding that every individual member to whom a potential preliminary injunction

runs actually faces the prospect of irreparable harm, Winter, 555 U.S. at 22.

        Indeed, CEA’s effort to proceed on behalf of anonymous future members raises the prospect

that it is seeking to, in effect, circumvent ordinary requirements for obtaining class-action relief,

creating a boundless class of religious employers and providers that benefit from a judgment in CEA’s

favor, but without any corresponding inquiry into whether they in fact possess standing, face

irreparable harm, or have meritorious claims. This further raises res judicata concerns because a

“future” CEA member, or an unidentified present member, will have the option of claiming the

benefit of any judgment running to CEA, but can also choose to avoid the preclusive effect of a

negative, or less than fully favorable, judgment.

        The lack of any individual member’s involvement, or any affidavits from individual members,

reinforces more broadly why Article III standing is lacking here—CEA’s challenge is at bottom an

abstract disagreement between the organization’s own purported beliefs and what it guesses EEOC

or HHS may do in the future. But federal courts do not serve as debating societies to hash out such

academic disputes. See Valley Forge Christian Coll. v. Americans United for Separation of Church & State, Inc.,

454 U.S. 464, 472 (1982).

II.     CEA’s Claims Are Unlikely To Succeed On Their Own Merits

        A.       EEOC and HHS do not substantially burden any person’s religious practice.

        RFRA provides that the “Government shall not substantially burden a person’s exercise of

religion” unless it can show that it “(1) is in furtherance of a compelling governmental interest; and

(2) is the least restrictive means of furthering that compelling government interest.” 42 U.S.C. §§


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2000bb-1(a)-(b). Accordingly, the first requirement under RFRA is that “a religious objector must

show that the government substantially burdens a sincere religious exercise or belief.” Sharpe Holdings,

Inc. v. Health & Human Servs., 801 F.3d 927, 937 (8th Cir. 2015), vacated on other grounds by Dep’t of Health

& Human Servs. v. CNS Int’l Ministries, No. 15-775 (2016). Only after a religious objector makes that

predicate showing does the Government bear the burden of showing that its policy furthers a

compelling interest and is appropriately tailored. Id.; see also Pratt v. Corr. Corp. of Am., 267 F. App’x

482, 482-483 (8th Cir. 2008) (affirming grant of summary judgment to defendants where individual

“did not show that defendants placed a ‘substantial burden’ on his ability to practice his religion”).

        For all the reasons above, CEA has failed to plausibly make the predicate showing that EEOC

or HHS substantially burdens any individual’s sincerely-held religious belief or practice. CEA does

not point to a single “person” or “religious objector” whose religious exercise has been burdened, nor

does CEA assert that its own such religious exercise has somehow been substantially burdened. CEA

instead relies on its unadorned claim that all of its anonymous members adhere to common religious

beliefs, but that approach elides RFRA’s focus on “the application of the challenged law ‘to the

person’—the particular claimant whose sincere exercise of religion is being substantially burdened.”

O Centro, 546 U.S. at 430-431; see also Olsen v. Mukasey, 541 F.3d 827, 831 (8th Cir. 2008). Further,

CEA fails to allege that any of its members have been subject to enforcement under either of HHS’s

or EEOC’s so-called “mandates,” or face imminent risk of such enforcement. And, as explained,

neither EEOC nor HHS have yet taken a position regarding how RFRA applies in the context of a

request that an employer cover, or a healthcare provider perform, gender-transition services. Because

Plaintiff has failed to show any substantial burden on a person’s religious exercise, its RFRA claims

necessarily fail.

        CEA contends that its numerous, unidentified members are, in fact, substantially burdened

because at present they must choose between (1) compliance with rules that compel them to perform,

or to provide healthcare coverage for, gender-transition services, thus violating their religious beliefs;

or (2) non-compliance that risks incurring penalties and loss of funding. See PI Mem. at 17-18. But

this is a false choice for at least two reasons. First, neither EEOC nor HHS has in fact taken the


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position that a religious entity’s failure to perform, or provide coverage for, such gender-transition

services always constitutes gender-identity discrimination. And second, both EEOC and HHS have

stated that any future gender-identity discrimination enforcement decision will account for RFRA and

other applicable statutes. CEA acknowledges, for example, that the HHS Notification “stated that

HHS would comply with RFRA,” Compl. ¶ 117, but then alleges that the Notice “did not detail how

HHS would comply with RFRA.” Id. ¶ 118. As explained above, agencies cannot predict ahead of

time how RFRA will apply to the facts of a particular matter. HHS’s enforcement rules, for example,

contemplate individualized investigations into discrimination claims. See 45 C.F.R. §§ 80.6-80.8.11

Whether RFRA provides a viable defense to an enforcement action in an individual case is a necessarily

individualized determination that cannot be made ex ante. See O Centro, 546 U.S. at 430-431. CEA’s

claim that HHS has not detailed how it will comply with RFRA simply reinforces why its claims are

not ripe—the need to assess RFRA’s applicability to a particular CEA member’s conduct may (or may

not) arise in the future, but it is not a judicially ripe question today.

        B.      Plaintiff cannot prevail on its First Amendment claims.

        CEA also asserts Free Exercise Clause claims against both EEOC and HHS that are

duplicative of its RFRA claims, as well as a Free Speech claim against HHS specifically. These claims

are not likely to succeed for the reasons above, namely that CEA has not in fact identified a true

burden on its members’ constitutional rights because the mandates it challenges do not exist. But its

arguments here fail for additional reasons as well.

        As to the Free Exercise claims, laws that are “neutral and of general applicability need not be

justified by a compelling governmental interest even if the law has the incidental effect of burdening

a particular religious practice.” Church of the Lukumi Babalu Aye, Inc. v. City of Hialeah, 508 U.S. 520, 531

(1993). The laws at issue here—§ 1557 (through Title IX) and Title VII—generally proscribe

discrimination “on the basis of” or “because of” sex by certain employers and healthcare providers.


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  EEOC’s enforcement process is also focused on discrete claims of discrimination. See 42 U.S.C. §
2000e-5. And, like the Notification, the EEOC Document states the agency will “consider and apply,
on a case by case basis, any religious defenses to discrimination claims.” EEOC Document at 5.


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See 42 U.S.C. § 2000e-2(a)(1); 42 U.S.C. § 18116(a) (citing 20 U.S.C. § 1681); see also EEOC v. Roman

Cath. Diocese of Raleigh, 48 F. Supp. 2d 505, 512 (E.D.N.C. 1999) (“The court agrees with plaintiff

that Title VII is a neutral law of general applicability.”), aff’d, 213 F.3d 795 (4th Cir. 2000)).

        CEA contends these laws are not generally applicable because they do not apply universally to

all employers or healthcare providers. See PI Mem. at 26-30. But that argument misunderstands what

it means for a law to be “generally applicable.” A law may “lack[] general applicability if it prohibits

religious conduct while permitting secular conduct that undermines the government’s asserted

interests in a similar way.” Fulton v. City of Philadelphia, 141 S. Ct. 1868, 1877 (2021) (cleaned up). Thus,
a city could not constitutionally prohibit a particular kind of conduct—animal sacrifice that formed

the practice of a religious faith—while not prohibiting similar secular activity undermining the

government’s interest in a similar manner, such as refusing to regulate improper garbage disposal. See

id. (citing Church of the Lukumi Babalu Aye, 508 U.S. at 542-546). But neither statute here regulates the

conduct of religious employers in a manner that it does not also regulate secular employers. Similarly,

a “law is not generally applicable if it invites the government to consider the particular reasons for a

person’s conduct by creating a mechanism for individualized exemptions.” Fulton, 141 S. Ct. at 1877.

But neither law here provides either agency with a mechanism for granting individualized exemptions

to anti-discrimination laws, and CEA does not argue otherwise.

        The fact that neither law extends universally to all employers or healthcare providers does not

change the general applicability analysis, as CEA’s own cases show. The Third Circuit’s decision in

Blackhawk v. Pennsylvania held that a law that imposed a fee for keeping wildlife in captivity was not

generally applicable because it exempted circuses and zoos. See 381 F.3d 202, 211 (3d Cir. 2004). But

the court’s conclusion there was rooted in the fact that a “law fails the general applicability requirement

if it burdens a category of religiously motivated conduct but exempts or does not reach a substantial

category of conduct that is not religiously motivated and that undermines the purposes of the law to

at least the same degree as the covered conduct that is religiously motivated.” Id. at 209 (emphasis added).

As the Third Circuit later explained, this means that the “relevant comparison for purposes of a Free

Exercise challenge to a regulation is between its treatment of certain religious conduct and the


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analogous secular conduct that has a similar impact on the regulation’s aims.” Lighthouse Inst. for Evangelism,

Inc. v. City of Long Branch, 510 F.3d 253, 266 (3d Cir. 2007) (emphasis in original). Thus, a regulation

violates the Free Exercise Clause “only if it treats religious assemblies or institutions less well than

secular assemblies or institutions that are similarly situated as to the regulatory purpose.” Id. CEA

makes no claim that either § 1557 or Title VII treat religious employers or healthcare providers worse

than “similarly situated” secular employers or providers. Nor could it, because both laws regulate

religious and secular employers and providers on equal terms. Because “nothing in the text of the

statutes . . . purports to burden anyone on the basis of religious relief” and because “there [is not] any

indication that the statutes were designed to impose such burdens . . . the statutes are neutral and

generally applicable.” New Doe Child #1 v. United States, 901 F.3d 1015, 1025 (8th Cir. 2018) (holding
“Plaintiffs fail to state a claim under the Free Exercise Clause”).

        CEA’s reliance on Tandon v. Newsom, 141 S. Ct. 1294 (2021) is unhelpful for similar reasons.

That decision concerned California’s COVID-19 restrictions on certain places of public gathering.

The Court held the restrictions were not generally applicable because secular facilities, such as retail

stores, movie theaters, and hair salons, were subject to less onerous restrictions than religious

gatherings. Id. at 1297. The Court rejected the argument that religious gatherings were treated on

equal terms with other secular activities, explaining that strict scrutiny is required “whenever [laws] treat

any comparable secular activity more favorable than religious exercise.” Id. at 1296. But neither §

1557 nor Title VII expressly treats religious employers or providers less favorably than secular ones,

as the California regulations did with respect to public gatherings. Indeed, both laws treat similarly

situated secular and religious entities identically, and accordingly CEA cannot point to a “comparable”

secular employer or provider treated more favorably under § 1557 or Title VII than religious ones.

        Plaintiff’s Free Speech claim against HHS falters as well, as CEA cannot point to HHS rules

or regulations compelling or chilling speech. CEA notably frames its speech claim in hypothetical

terms. For example, it contends HHS “require[s] a Christian doctor to tell a gender dysphoric patient,

‘I can perform surgery to make you look more like a boy.’” PI Mem. at 32. But nowhere does CEA

actually allege that one of its members has been compelled to make such speech, or chilled from


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opposing such speech, or even that a member has actually been asked by a patient about gender-

transition services. It next argues that HHS requires its providers to revise their written policies to

affirm the availability of gender-transition services, but it points only to the 2016 Rule, which has been

vacated and rescinded in relevant part, as evidence of such a requirement. Id. Plaintiff’s remaining

Free Speech arguments all stem from its mistaken assertion that HHS has mandated specific acts

under the banner of prohibiting gender-identity discrimination.

        CEA’s Free Speech claim is further flawed because, while HHS has not yet specified what

policies or actions might run afoul of § 1557’s prohibition on gender-identity discrimination, any such

pronouncement would regulate conduct, and not speech. See Rumsfeld v. F. for Acad. & Institutional Rts.,

Inc., 547 U.S. 47, 62 (2006). The Supreme Court has made clear that allegedly compelled speech that

is “incidental” to a rule’s “regulation of conduct” does not implicate freedom of speech. Id. It has

“never been deemed an abridgement of freedom of speech . . . to make a course of conduct illegal

merely because the conduct was in part initiated, evidenced, or carried out by means of language,

either spoken, written, or printed.” Id. (quoting Giboney v. Empire Storage & Ice Co., 336 U.S. 490, 502

(1949)). Thus, as relevant here, Congress may lawfully “prohibit employers from discriminating in

hiring on the basis of race” and the fact that such a prohibition “require[s] an employer to take down

a sign reading ‘White Applicants Only’ hardly means the law should be analyzed as one regulating the

employer’s speech rather than conduct.” Id. (citing R.A.V. v. St. Paul, 505 U.S. 377, 389 (1992)). In

this case, of course, CEA has not even shown that its members’ conduct in opposing gender-transition

services is regulated by HHS, but the application of anti-discrimination laws would nonetheless be a

regulation of conduct, not an abridgment of free speech.

        C.      EEOC and HHS have not violated the Administrative Procedure Act.

        The APA permits judicial review of “final agency action for which there is no other adequate

remedy in a court.” 5 U.S.C. § 704.12 If those prerequisites are met, a reviewing court may “set aside

agency action” that is “arbitrary, capricious, an abuse of discretion, or otherwise not in accordance

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   Within the Eighth Circuit, these “requirements are part of a party’s cause of action and are not
jurisdictional.” Iowa League of Cities v. EPA, 711 F.3d 844, 863 n.12 (8th Cir. 2013).


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with law.” Id. § 706(2)(A). CEA has failed to identify any final agency action in this case, and

moreover, its members have adequate and exclusive alternative remedies—resulting in de novo judicial

review—under both anti-discrimination statutes.              Because the “mandates” CEA challenges are

fictitious, it cannot plausibly allege they are contrary to law, or arbitrary and capricious. But even if

CEA purported to challenge the agencies’ actual policies, it cannot plausibly allege they are contrary to

law because both agencies have done nothing more than interpret their respective anti-discrimination

statutes to prohibit gender-identity discrimination, applying the same reasoning used by the Supreme

Court in Bostock. Finally, as the RSM court concluded, judicial comity weighs in favor of not entering

any relief that would interfere with the orders of coordinate courts.

                1.      There is no final agency action in this case.

        “[T]wo conditions . . . generally must be satisfied for agency action to be ‘final’ under the APA.

First, the action must mark the consummation of the agency’s decisionmaking process—it must not

be of a merely tentative or interlocutory nature. And second, the action must be one by which rights

or obligations have been determined, or from which legal consequences will flow.” U.S. Army Corps

of Eng’rs v. Hawkes Co., 136 S. Ct. 1807, 1813 (2016) (citation omitted).

        Despite training most of its complaint on the two so-called “mandates,” CEA conspicuously

does not allege that either mandate qualifies as final agency action for purposes of its APA claim. See

Compl. ¶¶ 243-244. That makes sense—these “mandates” do not exist in any rule, are not reflected

in any document or policy, and cannot be evinced by either agency’s prior practice. If those

“mandates” do not rise to the level of final agency action—which is to say, agency action “from which

legal consequences will flow”—it is difficult to conceive how they warrant preliminary relief, never

mind provide a basis for the Article III standing necessary to maintain this suit.

        Plaintiff’s complaint instead points to actual agency materials as possible final agency action,

but none qualifies here. For HHS, those items are its “2016 Rule, 2020 Rule, and 2021 Notice of

Enforcement.” Compl. ¶ 243. For EEOC, CEA cites to three “practice and guidance” documents,

namely the EEOC Document and two webpages offering generalized guidance on Title VII, each

reflecting that EEOC “interprets sex under Title VII as including gender identity.” Id. ¶ 244. CEA


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refers to these materials—and not the “mandates”—as “the agency rules.” Id. ¶ 245.

        But, as an initial matter, most of these documents are not legislative rules, or otherwise final

agency action. The HHS Notification and EEOC’s various “practice and guidance” documents

cannot qualify as final agency action because they are only statements of agency interpretation and

policy about statutes. The Notification, for example, merely “inform[s] the public that” HHS “will

interpret and enforce § 1557’s prohibition on discrimination on the basis of sex” in a manner

“consistent with the Supreme Court’s decision in Bostock and Title IX.” 86 Fed. Reg. at 27,984-85.

The EEOC Document similarly states that it does “not have the force and effect of law” and does
not “bind the public in any ways.” EEOC Document at 3. Instead it is “intended only to provide

clarity to the public regarding existing requirements under the law or agency policies.” Id. The two

EEOC webpages cited by CEA say only that under Title VII “it is illegal to discriminate against

someone . . . because of,” inter alia, “gender identity,” Compl., Ex. 3 at 1; see also Ex. 5 at 1 (same),

which also amounts to nothing more than a restatement of the reasoning of Bostock.

        Such “interpretive rules or statements of policy generally do not qualify [as final agency action]

because they are not ‘finally determinative of the issues or rights to which they are addressed.’” Am.

Tort Reform Ass’n v. OSHA, 738 F.3d 387, 395 (D.C. Cir. 2013) (citing Edwards, Elliott, & Levy, Federal

Standards of Review 157 (2d ed. 2013)) (citation omitted). Specifically, these materials cannot qualify

as final agency action because “[i]nterpretive rules do not . . . have the force and effect of law and are

not accorded that weight in the adjudicatory process.” Shalala v. Guernsey Mem’l Hosp., 514 U.S. 87, 88

(1995); see also Texas Children’s Hosp. v. Burwell, 76 F. Supp. 3d 224, 240 (D.D.C. 2014) (“[A] rule that

has no legal effect independent of the source it purports to interpret is not final agency action.”).

Indeed, the EEOC Document itself disclaims any binding legal effect, and courts, including the Eighth

Circuit, routinely find that the kinds of EEOC documents at issue here lack “the force of law.” In re

Union Pacific R.R. Empl. Practices Litig., 479 F.3d 936, 943 (8th Cir. 2007) (collecting cases).

        CEA cannot allege that its members’ legal obligations derive from these guidance materials,

several of which are merely printouts of informational pages on EEOC’s website. Such agency

guidance does not qualify as final agency action where it merely “reminds [the public] of existing


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statutory duties” and “merely track[s] the statutory requirements and thus simply explain[s] something

the statute already required.” Nat’l Family Planning & Reprod. Health Ass’n, Inc. v. Sullivan, 979 F.2d 227,

237 (D.C. Cir. 1992)) (cleaned up); see also Golden & Zimmerman, LLC v. Domenech, 599 F.3d 426, 432-

433 (4th Cir. 2010) (an agency document that “informs the regulated community” of the agency’s

position on “what violates the law” does not determine rights or obligations, and thus is not final

agency action). Thus, “[t]he agency cannot apply or rely upon [these guidance documents] as law

because a general statement of policy only announces what the agency seeks to establish as policy.”

Pacific Gas & Elec. Co. v. FPC, 506 F.2d 33, 38 (D.C. Cir. 1974); see Rhea Lana, Inc. v. Dep’t of Labor, 824

F.3d 1023, 1028 (D.C. Cir. 2016) (explaining such agency materials “create[] no new legal obligations

beyond those the [statute] already imposed”).

        Indeed, to best illustrate how these materials are not final agency action, imagine that the

agencies had simply never created or issued them. Both HHS and EEOC could still interpret their

respective anti-discrimination statutes as barring gender-identity discrimination based on the reasoning

of Bostock—which is all that these documents do. See Von Aulock, 720 F.2d at 181. If either agency

applied that interpretation in a particular enforcement proceeding, the target of that enforcement

could, of course, argue the agency exceeded its statutory authority or runs afoul of RFRA. See AT&T

Co., 270 F.3d at 976 (explaining agency’s view of the law “has force only to the extent the agency can

persuade a court to the same conclusion”). Thus, if HHS or EEOC ever chooses to assert these

interpretations, they must be “prepared to support the policy just as if the[se] policy statement[s] had

never been issued.” Nat’l Mining Ass’n v. McCarthy, 758 F.3d 243, 253 (D.C. Cir. 2014) (Kavanaugh,

J.). But it is too soon to tell whether HHS or EEOC have improperly applied the legal interpretations

in these documents to the facts of a particular case. Once an agency “interprets the law in an

adjudication, a party can challenge that interpretation as being inconsistent with the agency’s organic

statute, or with its regulations.” CSX Transp., Inc. v. Surface Transp. Bd., 774 F.3d 25, 33 (D.C. Cir.

2014). But “[i]n all such cases . . . if the contested agency action takes place during the course of an

adjudication, judicial review comes only at the conclusion of the proceedings.” Id.

        Finally, CEA cannot argue that these materials constitute final agency action because its


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members must allegedly conform their behavior to the agencies’ view that gender-identity

discrimination is prohibited under § 1557 and Title VII. The fact that the policy statements broadly

express the agencies’ views on the “legality” of certain conduct—namely, the scope of discrimination

“on the basis of” or “because of” sex—“does not change the character of the [documents] from a

policy statement to a binding rule.” Ctr. for Auto Safety v. NHTSA, 452 F.3d 798, 808 (D.C. Cir. 2006).

Rather, “the case law is clear that [courts] lack authority to review claims under the APA ‘where an

agency merely expresses its view of what the law requires of a party, even if that view is adverse to

that party.’” Id. (quoting Indep. Equip. Dealers Ass’n v. EPA, 372 F.3d 420, 427 (D.C. Cir. 2004)

(Roberts, J.)); see also AT&T Co., 270 F.3d at 975 (same). That is precisely what the policy statements

here do—they share the agencies’ respective interpretations of statutory text, which are based on the

Supreme Court’s decision in Bostock. CEA’s disagreement with that interpretation does not itself

adversely harm CEA or its members, but rather “only affects [them] adversely on the contingency of

future administration action.” Lee v. Schultz, No. CIV 14-4117, 2015 WL 1281880, at *9 (D.S.D. Mar.
19, 2015) (quoting DRG Funding Corp. v. Secretary of Housing and Urban Development, 76 F.3d 1212, 1214

(D.C. Cir. 1996)). “‘Practical consequences, such as the threat of a party having to defend itself in an

administrative hearing should the agency actually decide to pursue enforcement, are insufficient to

bring an agency’s conduct under judicial purview.’” Id. (quoting Nat’l Ass'n of Home Builders v.

Norton, 415 F.3d 8, 15 (D.C. Cir. 2005)). And as explained, the risk of such an enforcement measure

to CEA’s members is wholly conjectural.

        The only remaining “agency rules” CEA points to—HHS’s 2016 Rule and 2020 Rule—

similarly do not satisfy the final agency action requirement here. The 2016 Rule does not suffice for

the simple reason that its gender-identity discrimination provision was vacated. It therefore cannot

be agency action “by which rights or obligations have been determined, or from which legal

consequences will flow.” Hawkes Co., 136 S. Ct. at 1813; see also Phelps-Roper v. City of Manchester, 697

F.3d 678, 687 (8th Cir. 2012) (en banc) (“When a law has been amended or repealed, actions seeking

declaratory or injunctive relief for earlier versions are generally moot.”).

        The 2020 Rule likewise does not serve as final agency action here because CEA and its


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members face no actual or imminent risk of enforcement from it. Under the APA, courts “intervene

in the administration of the laws only when, and to the extent that, a specific ‘final agency action’ has

an actual or immediately threatened effect.” Lujan v. Nat’l Wildlife Fed’n, 497 U.S. 871, 894 (1990)

(citation omitted). Even to the extent the 2020 Rule’s recitation of the statutory definition of sex

discrimination now arguably proscribes gender-identity discrimination, either due to Bostock or the

Notification, that still does not pose any actual or immediate harm to CEA members because HHS

has not yet, and may never, enforce that prohibition in the manner Plaintiff assumes it will. See supra

Argument § I.B; see also Dakota Res. Council v. N. Dakota Pub. Serv. Comm’n, No. 1:12-CV-064, 2013 WL

12085480, at *7 (D.N.D. Sept. 3, 2013) (finding no final agency action where plaintiff “fail[ed] to

identify any circumstance” in which challenged guidance memo “was applied for the purpose”

allegedly harming plaintiff); Communities for a Great Nw., Ltd. v. Clinton, 112 F. Supp. 2d 29, 38 (D.D.C.

2000) (declining APA review where plaintiffs “have not challenged a specific final agency action that

has caused or is expected to cause them imminent harm”).

        Finally, even if the 2020 Rule did define sex discrimination to include gender-identity

discrimination and CEA’s members faced a risk of enforcement—neither of which is the case—final

agency action would still be lacking until actual enforcement occurred. See Standing Rock Housing Auth.,

585 F. Supp. 2d at 1118-1120 (challenge to an EEOC administrative subpoena was not ripe due to

lack of final agency action). In Standing Rock the court explained that, even though EEOC had taken

an active investigatory step by issuing an administrative subpoena to the plaintiff, there was no “final”

agency action until the EEOC sought to enforce the subpoena in court or filed suit. Id. at 1120. The

court concluded that to “hold otherwise would result in this Court judicially interfering with the proper

functions of the EEOC,” id., and further explained that “[i]f and when the EEOC or the charging

party files suit in district court . . . the plaintiff will have the opportunity to refute the charges.” Id.

(quoting Georator, 592 F.2d at 768). In other words, HHS will not have taken final agency action

towards one of CEA’s members under the 2020 Rule until it actually exercises its discretion to enforce

the rule against them, including going through all of the steps and procedural safeguards involved in

administrative enforcement, during which the member may present its full suite of arguments.


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                2.      Both § 1557 and Title VII provide alternate remedies that preclude review under the
                        APA.
        Plaintiff’s APA claim is also precluded by the fact that its members have an adequate

alternative judicial remedy under both § 1557 and Title VII. “[T]he APA only allows review where

there exists ‘no other adequate remedy in a court.’” Cent. Platte Nat. Res. Dist. v. U.S. Dep't of Agric.,

643 F.3d 1142, 1148 (8th Cir. 2011) (quoting 5 U.S.C. § 704). “[Section] 704 ‘does not provide

additional judicial remedies in situations where the Congress has provided special and adequate review

procedures.’” Johnson v. Vilsack, 833 F.3d 948, 955 (8th Cir. 2016) (quoting Bowen v. Massachusetts, 487

U.S. 879, 903 (1988)). CEA’s members possess adequate alternative remedies here—they may defend
against any future enforcement of either Title VII or § 1557 under the express administrative and

judicial review provisions crafted by Congress. See 42 U.S.C. § 18116(a) (incorporating, inter alia, Title

IX’s administrative and judicial review procedures); 42 U.S.C. § 2000e-5 (Title VII procedures).

        The “adequate” alternative relief available to Plaintiff “need not provide relief identical to relief

under the APA” to have preclusive effect under § 704 so long as it offers “the same genre” of relief.

Garcia v. Vilsack, 563 F.3d 519, 522-523 (D.C. Cir. 2009). Such relief exists where agency statutes

“provide[] a framework for obtaining judicial review.” Defs. of Wildlife v. EPA, 882 F.2d 1294, 1302

(8th Cir. 1989) (holding “the district court had no jurisdiction to consider” claims under the APA in

such cases); see also Garcia, 563 F.3d at 523 (holding alternate relief is “adequate” under § 704 if it

“affords an opportunity for de novo district-court review”); Bowen, 487 U.S. at 903 (review unavailable

under § 704 where agency statutes provide “specific procedures” leading to judicial review).

        Both § 1557 and Title VII provide “framework[s] for obtaining judicial review,” Defs. of Wildlife,

882 F.2d at 1302, including specific provisions affording “an opportunity for de novo district-court

review,” Garcia, 563 F.3d at 523. Section 1557 incorporates the “enforcement mechanisms provided

for and available under,” inter alia, Title IX. 42 U.S.C. § 18116(a). Title IX, like the other statutes

incorporated into § 1557, sets out provisions to enforce its prohibition on discrimination “on the basis

of sex.” See 20 U.S.C. §§ 1682-1683; see also 45 C.F.R. § 80.6-80.8. In limited circumstances, Title IX’s

enforcement provisions permit agencies to withhold federal funding to entities discriminating on the

basis of sex, but only after “there has been an express finding on the record, after opportunity for


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hearing, of a failure to comply” with the title. 20 U.S.C. § 1682. And these enforcement provisions

further require the agency to first advise the subject about its lack of compliance and then “determine[]

that compliance cannot be secured by voluntary means.” Id. To the extent a person is aggrieved by

agency enforcement under Title IX’s enforcement provisions, Title IX grants “judicial review as may

otherwise be provided by law” or, alternatively, “judicial review of such action in accordance with

chapter 7 of Title 5,” i.e. the APA. Id. § 1683.

        For its part, EEOC investigates claims of discrimination filed by employees or job applicants

and engages in a conciliation process with the employer if it finds reasonable cause to believe a Title

VII violation occurred. See 42 U.S.C. § 2000e-5(b), (f). Only then may EEOC either bring an

enforcement action or issue a right-to-sue notice to the private complainant, both of which provide

for de novo district court proceedings. Id. § 2000e-5(b); see also 29 C.F.R. §§ 1601.27-1601.29.

        Because both statutory regimes guarantee de novo review of any enforcement action, CEA and

its members “almost by definition . . . have an adequate remedy in a court.” NAACP v. Meese, 615 F.

Supp. 200, 203 (D.D.C. 1985) (explaining that defending against a government motion is a “far more

appropriate, far more logical remedy than a lawsuit here seeking injunctive relief”); see also Temple Univ.

of Commonwealth Sys. of Higher Educ. ex rel. v. Brown, No. CIV. A. 00-CV-1063, 2001 WL 185535, at *7

(E.D. Pa. Feb. 23, 2001) (concluding plaintiff possessed alternative remedy precluding review under §

704 because it could “defend any . . . charges should the government cho[o]se to pursue them”); New

Jersey Hosp. Ass’n v. United States, 23 F. Supp. 2d 497, 501 (D.N.J. 1998) (“the ability and opportunity

to raise a defense” to an action is “an adequate remedy in a court”); Ass’n of Am. Med. Colleges v. United

States, 34 F. Supp. 2d 1187, 1193 (C.D. Cal. 1998) (similar); U.S. Steel Corp. v. Fri, 364 F. Supp. 1013,

1018-1019 (N.D. Ind. 1973) (similar).

        Indeed, the Eighth Circuit has already found that administrative and judicial review provisions

akin to those in Title IX and Title VII qualify as an alternate remedy under § 704. See Great Rivers

Habitat All. v. FEMA, 615 F.3d 985, 989 (8th Cir. 2010). That decision affirmed a district court’s

conclusion that § 4104(g) of the National Flood Insurance Act of 1968 precluded review of flood

elevation determinations under the APA. Id. Like the anti-discrimination administrative review


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processes here, § 4104 permitted private persons to present arguments directly to the agency through

an administrative process and, if “aggrieved by any final determination of the Administrator upon

administrative appeal,” to further “appeal such determination to the United States district court” with

“[t]he scope of review by the court . . . as provided by chapter 7 of Title 5,” i.e. the APA. 42 U.S.C.

§§ 4140(c), (d), (g). That provision “provide[d] an adequate legal remedy” precluding APA review.

Great Rivers, 615 F.3d at 989; see also Defs. of Wildlife, 882 F.2d at 1299. The same is true here.

        Turning to the specific statutes in this case, at least one court, after reviewing Title IX’s

administrative scheme, concluded that it deprived the court of jurisdiction over a pre-enforcement
APA claim under § 704. See Bd. of Educ. of the Highland Local Sch. Dist. v. Dep’t of Educ., 208 F. Supp. 3d

850, 860-864 (S.D. Ohio 2016). And similarly, in the context of Title VII, “[c]ourts have uniformly

held that no cause of action exists [under the APA] with respect to the EEOC’s handling of

discrimination claims because Congress has given plaintiffs a right to file a de novo lawsuit against the

allegedly discriminating employer.” Rude v. Laughing Sun Brewing Co., LLC, No. 1:20-CV-029, 2020 WL

1073958, at *2 (D.N.D. Mar. 5, 2020) (citation omitted); see also Travis v. Perdue, No. 3:20-05071-CV-

RK, 2021 WL 328916, at *8 (W.D. Mo. Feb. 1, 2021) (finding APA claim “fail[ed] because judicial

review is an adequate remedy for imperfect EEO processing”).13 As the D.C. Circuit has summarily

affirmed, this “de novo review provides an adequate remedy in a court within the meaning of 5 U.S.C.

§ 704 for complaints about the EEOC’s administrative process, precluding an APA challenge to the

EEOC’s procedures.” Wright v. Dominguez, No. 04-5055, 2004 WL 1636961, at *1 (D.C. Cir. July 21,

2004) (collecting authority).

        Further still, § 1557 and HHS’s judicial review procedures reflect Congress’s desire to preclude

any pre-enforcement judicial review of Plaintiff’s claims. Where it is “fairly discernable” that an

elaborate statutory review scheme was intended to create an exclusive remedy, parallel jurisdiction

outside that scheme is precluded. See Thunder Basin Coal Co. v. Reich, 510 U.S. 200, 207, 216 (1994); see


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  Although a CEA member would be the defendant in such a hypothetical proceeding, that makes no
difference—the proceeding still grants that defendant adequate judicial review, including the
opportunity to raise all of the legal theories asserted here as defenses. E.g., Meese, 615 F. Supp. at 203.


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also Elgin v. Dep’t of Treasury, 567 U.S. 1 (2012). In Thunder Basin, the Supreme Court held that a statute

providing for administrative proceedings followed by judicial review foreclosed a parallel challenge to

an agency’s statutory interpretation. See Thunder Basin, 510 U.S. at 207-208. There, a mine operator

challenged an agency’s interpretation of a statute that would potentially form the basis for an

enforcement action against it. Id. at 216. Confronted with a review process remarkably similar to

those incorporated into § 1557, the Court held that Congress’s intent to preclude pre-enforcement

judicial review was “fairly discernible in the statutory scheme” under the Mine Act. Id. at 207.

        As in Thunder Basin, no action has been taken against the plaintiff here (or any of its members).

And here, just as in Thunder Basin, “[n]othing in the language and structure of the Act or its legislative

history suggests that Congress intended to allow [regulated parties] to evade the statutory-review

process by enjoining the [agency] from commencing enforcement proceedings” based on the

challenged interpretation. Id. And as in Thunder Basin, a procedural scheme that “applies to all

violations of the Act and its regulations” provides the opportunity for judicial review. Id. at 209.

        As in Thunder Basin, this Court may not consider Plaintiff’s anticipatory challenge to the

interpretation and enforcement of § 1557 in view of the specifically-crafted alternate remedy. By

providing for administrative review, followed by judicial review, Congress intended to preclude pre-

enforcement injunctive relief. Plaintiff styles its APA claim as primarily challenging the statutory

interpretation announced in agency guidance, but the same was true in Thunder Basin. 510 U.S. at 205

(describing plaintiff’s pre-enforcement “challenge [to] the [agency’s] interpretation of” a statute). CEA

“may not bypass the specific method that Congress has provided for reviewing adverse agency action

simply by suing the agency in federal district court . . . the specific statutory method, if adequate, is

exclusive.” Great Plains Coop v. CFTC, 205 F.3d 353, 355 (8th Cir. 2000) (quoting Gen. Finance Corp. v.

FTC, 700 F.2d 366, 368 (7th Cir. 1983)). This Court should therefore join others that have refused to

permit circumvention of the civil rights laws’ administrative processes. See, e.g., Taylor v. Cohen, 405

F.2d 277 (4th Cir. 1968) (en banc); Sch. Dist. of City of Saginaw v. Dep’t of Health, Ed., & Welfare, 431 F.

Supp. 147 (E.D. Mich. 1977); Highland Local Sch. Dist., 208 F. Supp. 3d at 862.




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                3.      EEOC and HHS have not acted contrary to law or arbitrarily and capriciously.

        Even assuming § 704’s requirements have been met, CEA has failed to allege that any of the

so-called final agency action it challenges is contrary to law or arbitrary and capricious. See 5 U.S.C. §

706(2)(A). As an initial matter, CEA’s preliminary injunction motion pivots once more on this point,

and contends that it is the “mandates [that] violate these APA provisions” and thus should be set

aside. PI Mem. at 36. But the complaint, on its face, does not identify the mandates as the agency

action at issue. See Compl. ¶¶ 243-245. Plaintiff’s inability to concretely fix its APA claim on any

specific agency action reflects the lack of any true final agency action or Article III standing in this

case altogether, as well the lack of any irreparable harm warranting preliminary injunctive relief.

        Even accepting CEA’s blunderbuss approach, it fails to plausibly allege a violation of § 706.

It first contends that EEOC has acted contrary to law by requiring that “all employers must cover

gender transition services in their health plans.” PI Mem. at 36. But as explained, EEOC has never

had such a requirement. And that requirement is certainly not found in any of the three EEOC

documents CEA points to as final agency action here. See Compl., Exs. 3-5.

        Plaintiff’s APA claim against EEOC is doomed for that reason alone, but its remaining

arguments are similarly flawed. For example, it contends it is “not discrimination on the basis of

whether an employee is a man or woman to preclude coverage of gender transitions [sic] services to

any men or women” because “[w]hen compared against each other, both sexes are subject to the same

equal treatment.” PI Mem. at 36. But that argument is little more than a disagreement with Bostock,

which flatly rejected the group-based comparative approach CEA would prefer. See Bostock, 140 S. Ct.

at 1741 (explaining Title VII does not “focus on differential treatment between the two sexes as

groups” and thus it is no defense “for an employer to say it discriminates against both men and women

because of sex”); see also id. at 1742-1743 (explaining an “employer musters no better a defense by

responding that it is equally happy to fire male and female employees” who are gay or transgender).

        CEA also argues that EEOC acted arbitrarily and capriciously by failing to consider RFRA

and other religious-practice implications of its “mandate.” PI Mem. at 37-38. But the very materials

CEA relies upon stress EEOC will appropriately consider religious exemptions when the time is ripe.


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The EEOC Document, for example, states that Title VII does not extend to “certain employment

discrimination claims by the employees of religious institutions because those employees perform vital

religious duties at the core of the mission of the religious institution.” EEOC Document at 5.

Accordingly, EEOC “consider[s] and appl[ies], on a case by case basis, any religious defense to

discrimination claims, under Title VII and other applicable laws,” such as RFRA. Id. And EEOC’s

Compliance Manual on Religious Discrimination further advises investigators to “take great care”

when a RFRA claim is made and to “seek the advice of the EEOC Legal Counsel in such a situation.”

Directive 915.063, § 12-1-C (Jan. 15, 2021). CEA therefore, again, puts the cart before the horse by

arguing EEOC has “failed to consider the religious liberty implications” of enforcement. PI Mem. at

37. EEOC has no ability to consider RFRA until it receives a complaint from an employee,

investigates the complaint, and then is tasked with making a determination about whether an

actionable violation of Title VII has occurred. EEOC’s policy statements affirm that it will consider

any religious liberty implications at that time. CEA’s citation to Bostock for this argument only proves

the point, because the Supreme Court there stressed that it was premature to determine the religious

liberty implications of its own decision. Bostock, 140 S. Ct. at 1754 (explaining such cases “are

questions for future cases” where “other employers . . . may raise free exercise arguments that merit

careful consideration”).14
        CEA’s arguments against HHS fail for the same reason. Again, its preliminary injunction

motion pivots from challenging “HHS’s 2016 Rule, 2020 Rule, and 2021 Notice of Enforcement,”

Compl. ¶ 243, to instead arguing that “HHS’s mandate violates the APA.” PI Mem. at 39. But because

no such mandate exists, CEA’s claim fails at the outset.

        The challenge against HHS is all the more puzzling because CEA acknowledges that the only

plausible final agency action at issue here—the 2020 Rule—“correctly concluded” that defining sex

discrimination to include gender-identity discrimination was “unlawful and unwarranted.” PI Mem.


14
  CEA also argues that because EEOC may not issue substantive rules, it has committed a procedural
violation by issuing its “mandate.” PI Mem. at 38. But CEA, conspicuously, cannot point to any
actual substantive rule, or practice or pattern, reflecting this “mandate.”


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at 39. That same rule stressed that it would “be implemented consistent with . . . conscience and

religious freedom statutes.” 85 Fed. Reg. at 37,207. It is therefore not clear what HHS agency action

CEA alleges runs afoul of § 706. To the extent it is the preliminary injunctions entered by the Walker

and Whitman-Walker courts, that is not agency action under the APA, see 5 U.S.C. § 551(1), and asking

this Court to set aside those injunctions runs afoul of judicial comity. See infra Argument § II.C.4.

        CEA’s remaining arguments are, again, little more than a quarrel with Bostock, which

subsequently held it is “impossible” to discriminate based on gender-identity without doing so based

on sex. PI Mem. at 41-44. For example, CEA contends that it is not plausible that Congress, when

it enacted § 1557 in 2010, understood a prohibition on sex discrimination to require gender-transition

services on demand. See PI Mem. at 42. Bostock expressly rejected the argument that the scope of sex

discrimination is cabined to how the enacting legislators understood the concept, stating “[t]hat is

exactly the sort of reasoning this Court has long rejected.” 140 S. Ct. at 1750-1752.

        The remaining arguments CEA offers only highlight the absence of any true agency action

here. See PI Mem. at 42-45. CEA contends the HHS “mandate” is contrary to 42 U.S.C. § 18114,

which prevents HHS from promulgating rules that interfere with access to treatment. But the only

promulgated rule CEA points to—the 2020 Rule—contains no mandate, and CEA fails to offer a

single example of when one of its healthcare members has been unable to provide medical treatment

to patients due to the 2020 Rule. Similarly, CEA argues that HHS has violated 42 U.S.C. § 300a-7(d),

which provides that “[n]o individual” shall be required to perform procedures “contrary to his

religious beliefs or moral convictions” as part of a covered health program. But CEA also cannot

point to any individual who HHS has compelled to perform gender-transition services in violation of

his or her religious beliefs or moral convictions. Nor, importantly, has CEA alleged that any individual

is a part of “a health service program or research activity funded in whole in in part under a program

administered by the Secretary of Health and Human services,” as required by 42 U.S.C. § 300a-7(d).

        Plaintiff’s remaining arguments all stem from its errant claim that HHS has staked out the

view that it is prohibited gender-identity discrimination not to perform gender-transition services,

regardless of factual context or religious objection. For example, CEA alleges the Notification


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“reversed course” on prior policy in the 2020 Rule without explaining why. PI Mem. at 43-44. But

while the 2020 Rule did not define sex discrimination to include gender-identity discrimination, it did

acknowledge that the Supreme Court was likely to resolve the issue in Bostock, and the NPRM

previously acknowledged HHS would permit courts to settle the scope of the statutory language. 85

Fed. Reg. at 37,183; 84 Fed. Reg. at 27,873. The Notification, in turn, does nothing more than apply

the reasoning of the Supreme Court employed in Bostock. But, on its face, it does not state that refusal

to provide any one of the myriad medical procedures set forth by CEA qualifies as gender-identity

discrimination, never mind over a well-founded religious objection. See 86 Fed. Reg. at 27,985.15

                4.      Judicial comity weighs against entering any relief under the APA in this case.

        Plaintiff’s claims are not likely to succeed for many reasons, but even if the Court believes that

there is some chance of success, it should still decline to grant any relief under the APA. As the RSM
court explained, courts may in their “discretion dismiss a declaratory or injunctive suit if the same

issue is pending in litigation elsewhere.” 513 F. Supp. 3d at 1143 (quoting Abbott Lab’ys v. Gardner,

387 U.S. 136, 155 (1967)). As the court further explained, the 2020 Rule is presently subject to the

Walker and Whitman-Walker courts’ injunctions. Id. Accordingly, granting the plaintiffs’ injunctive

relief in that case would have “inevitably conflict[ed] with decisions of other district courts and

simultaneously subject HHS to inconsistent legal obligations.” Id. at 1144. The court thus exercised

its discretion to “decline[] to adjudicate the APA claims.” Id.

        CEA similarly seeks extraordinarily broad injunctive relief for its APA claim, asking that the

Court set aside HHS’s enforcement of the “2016 Rule, any relevant portion of the 2020 Rule, and

HHS’s 2021 Notice of Enforcement.” Compl., Prayer for Relief § (D). Such relief would necessarily

conflict with previous injunctions entered by coordinate federal courts, for the reasons the RSM court

explained. See 513 F. Supp. 3d at 1143-1145. The Court should exercise similar discretion here if it

15
   Plaintiff also argues that HHS was required to use notice-and-comment rulemaking for either the
Notification or the so-called “mandate,” but it is not clear which they believe was subject to such
procedures. PI Mem. at 44-45. It is wrong either way—there is no “mandate” and mere policy
statements and interpretive rules like the Notification do not require notice-and-comment rulemaking.
See Saint Marys Hosp. of Rochester, Minnesota v. Leavitt, 535 F.3d 802, 807 (8th Cir. 2008); Am. Hosp. Ass’n
v. Bowen, 834 F.2d 1037, 1045 (D.C. Cir. 1987).


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does not first find Plaintiff’s APAs claims unlikely to succeed for the reasons above.

III.    CEA Has Failed To Show Irreparable Harm

        “In order to demonstrate irreparable harm, a party must show that the harm is certain and

great and of such imminence that there is a clear and present need for equitable relief.” Novus

Franchising, Inc. v. Dawson, 725 F.3d 885, 895 (8th Cir. 2013). “The key word in this consideration is

irreparable. Mere injuries, however substantial, in terms of money, time and energy necessarily

expended in the absence of a stay, are not enough.” Sampson v. Murray, 415 U.S. 61, 90 (1974).

“Speculative harm” or a “possibility of irreparable harm” is not enough. S.J.W. ex rel. Wilson v. Lee’s

Summit R-7 Sch. Dist., 696 F.3d 771, 779 (8th Cir. 2012); Winter, 555 U.S. at 22 (2008). “Failure to

show irreparable harm is an independently sufficient ground upon which to deny a preliminary

injunction.” Watkins Inc., 346 F.3d at 844. That is because the very “basis of injunctive relief in the

federal courts has always been irreparable harm and inadequacy of legal remedies.” Id. (quoting Bandag,

Inc. v. Jack’s Tire & Oil, Inc., 190 F.3d 924, 926 (8th Cir. 1999)).

        Despite the fact that irreparable harm is the sine qua non of preliminary relief, CEA dedicates

barely a page of its motion to explaining how its members allegedly face such harm. See PI Mot. at

45-46. Moreover, CEA offers no basis at all for finding irreparable harm beyond its own purported

likelihood of success on its RFRA and constitutional claims. Id. But CEA is not likely to succeed on

the merits of those unripe claims because it lacks standing and has otherwise failed to plausibly plead

those claims. In particular, the reasons undermining CEA’s standing cast serious doubt on its claim

of irreparable harm. Neither EEOC nor HHS have required CEA’s unidentified members to cover

or perform gender-transition services, and none of these members face imminent risk of enforcement.

        Even if CEA members did face the prospect of enforcement, they could still present the exact

same arguments CEA raises here, undermining any claim of irreparable harm to that member. That is

why an “injunction against threatened legal action will not issue if the party will have an adequate

opportunity to fully present his defenses and objections in the legal action he seeks to enjoin.” Travis

v. Pennyrile Rural Elec. Co-op., 399 F.2d 726, 729 (6th Cir. 1968) (collecting cases and further explaining

injunctive relief against future proceeding is “premature” where complaining party can “present all its


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objections” at the later proceeding). Similarly, the Supreme Court in Thunder Basin found no

irreparable harm where, even if the plaintiff chose to violate the agency’s view of the law, any penalties

would only become final after administrative and judicial review. 510 U.S. at 217-218; cf. Ohio Forestry

Ass’n, 523 U.S. at 729-30, 733-734 (holding that case was not ripe where plaintiff “will have ample

opportunity later to bring its legal challenge at a time when harm is more imminent and more certain,”

and an administrative process was available before plaintiffs would face any “practical harm”).

        CEA’s claim of irreparable harm is further undermined by its own delay in seeking relief. “It

has long been recognized that delay in seeking relief ‘vitiates much of the force of . . . allegations of

irreparable harm.’” CHS, Inc. v. PetroNet, L.L.C., Civ. No. 10–94 RHK/FLN, 2010 WL 4721073 at *3

(D. Minn. Nov. 15, 2010) (quoting Beame v. Friends of the Earth, 434 U.S. 1310, 1313 (1977)). While

CEA never identifies when precisely it claims the EEOC “mandate” went into effect, it alleges that

EEOC has had a “consistent interpretation” of Title VII “for almost 10 years.” Compl. ¶ 64. CEA

also points to actions EEOC took in 2016 to support its incorrect claim that EEOC allegedly enforces

Title VII to compel employers to offer insurance covering gender-transition services to employees in

all circumstances. Id. ¶¶ 73-76. But CEA offers no explanation why it has waited nearly a decade, and

in any event at least five years, to seek relief from what it now claims to be irreparable harm. The fact

that CEA cannot point to any adverse consequences to its members over that time illustrates the point.
See Hubbard Feeds, Inc. v. Animal Feed Supplement, Inc., 182 F.3d 598 (8th Cir. 1999) (affirming finding of

no irreparable harm where plaintiff waited nine years to seek injunctive relief).

        CEA has also delayed seeking relief from HHS. It relies on the RSM court’s finding that the

plaintiffs there faced the risk of enforcement because of the impact of the Supreme Court’s decision

in Bostock, as well as the injunctions entered in Walker and Whitman-Walker, all of which occurred

roughly a year or more before CEA filed this suit. See RSM, 513 F. Supp. 3d at 1135. This “long delay

between the time” the risk of enforcement allegedly arose and when CEA “finally sought injunctive

relief . . . rebuts any inference of irreparable harm.” Novus Franchising, Inc. v. Dawson, 725 F.3d 885, 894

(8th Cir. 2013) (affirming finding of no irreparable harm where plaintiff waited seventeen months to

seek relief). Indeed, the Eighth Circuit recently affirmed a district court’s conclusion that a comparable


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“one-year delay” in seeking injunctive relief against HHS “refuted [plaintiff’s] allegations of irreparable

harm.” Adventist Health Sys./SunBelt, Inc. v. Dep't of Health & Hum. Servs., No. 21-1589, 2021 WL

5170810, at *9 (8th Cir. Nov. 8, 2021) (citing Novus, 725 F.3d at 889, 994) (emphasis in original); id.

(favorably citing Tough Traveler, Ltd. v. Outbound Prods., 60 F.3d 964, 968 (2d Cir. 1995) (nine month

delay undermined claim of irreparable harm), cert. denied, 527 U.S. 1036 (1999)). CEA’s own allegation

that the enforcement risk its members face is longstanding and well-established further undermines

any claim of irreparable harm.

IV.     The Balance Of Equities And Public Interest Favor Denying Plaintiff’s Motion

        CEA’s “failure to show a likelihood of irreparable harm or a reasonable probability of success

on the merits [is a] sufficient reason . . . to deny injunctive relief, so it is unnecessary to address [the]

other [two] factors.” Powell, 855 F.3d at 904-905. Nonetheless, the balance of the equities and public

interest each weigh in favor of denying CEA’s motion. Outweighing Plaintiff’s non-existent showing

of harm is the substantial public interest in achieving Title VII and § 1557’s purpose of eliminating

impermissible discrimination in certain workplace and healthcare settings. “Courts presume that a

violation of a civil rights statute is an irreparable harm.” ARC of Iowa v. Reynolds, No. 4:21-CV-00264,

2021 WL 4166728, at *9 (S.D. Iowa Sept. 13, 2021); see also Silver Sage Partners, Ltd. v. City of Desert Hot
Springs, 251 F.3d 814, 827 (9th Cir. 2001); Roberts v. Colo. State Bd. of Agric., 998 F.2d 824, 833 (10th Cir.

1993); Rogers v. Windmill Pointe Vill. Club Ass’n, 967 F.2d 525, 528 (11th Cir. 1992).

        Plaintiff here seeks sweeping relief that if granted would frustrate operation of these anti-

discrimination laws and impede the ability of HHS and EEOC to explain their own understandings

of relevant legal requirements to both the public and regulated entities. For example, CEA seeks to

enjoin enforcement of these anti-discrimination laws on behalf of its unidentified current and future

members, all without any corresponding showing that any of these members face a real risk of harm

or of having their religious practice burdened. Compl., Prayer for Relief. Similarly, it asks this Court

to set aside ill-defined agency action that, if granted, could impede HHS and EEOC from developing

actual policies around gender-identity discrimination. Such improper relief causes “inherent harm to

an agency” by preventing it from enforcing statutes and regulations that “Congress found it in the


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public interest to direct that [it] develop and enforce.” Cornish v. Dudas, 540 F. Supp. 2d 61, 65 (D.D.C.

2008); cf. Jacksonville Port Auth. v. Adams, 556 F.2d 52, 59 (D.C. Cir. 1977) (“[T]here is an overriding

public interest . . . in the general importance of an agency’s faithful adherence to its statutory

mandate.”). Plaintiff has failed to show any irreparable harm that would justify inflicting these injuries.

                                           CONCLUSION

        For the foregoing reasons, Plaintiff’s motion for a preliminary injunction should be denied.


Dated November 22, 2021                                  Respectfully submitted,

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                                   CERTIFICATE OF SERVICE

        On November 22, 2021, I electronically submitted the foregoing document with the clerk of

court for the U.S. District Court of North Dakota, using the electronic case filing system of the court.

I hereby certify that I have served all parties electronically or by another manner authorized by Federal

Rule of Civil Procedure 5(b)(2).


                                                        /s/ Christopher D. Dodge
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                                                        United States Department of Justice




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